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                                                                                     u.s.
                                IN THE UNITED STATES DISTRICT COURT EASTERN D STR         .
                              FOR THE EASTERN DISTRICT OF ARKANSAS                          Y 1 019
                                       LITTLE ROCK DIVISION

        PHILIP PALADE, GREGORY BORSE, and
        J. THOMAS SULLIVAN, on behalf of themselves
        and all others similarly situated

        V.                           CASE NO.     J/:.' ft/C!. \/3/?9-JM.
        BOARD OF TRUSTEES OF THE                                                              ~
        UNIVERSITY OF ARKANSAS SYSTEM;                          .           .   dt District A age _ _ _ ·•=
        ED FRYAR, Ph.D., in his official capacity as Trustee; This case a_ssigne O      ~ _
        STEVE COX, in his official capacity as Trustee;       and to Magistrate Judge •
        TOMMY BOYER, in his official capacity as Trustee;
        SHEFFIELD NELSON, in his official capacity as Trustee;
        C. C. GIBSON, in his official capacity as Trustee;
        STEPHEN BROUGHTON, M.D., in his official capacity as Trustee;
        KELLY EICHLER, in her official capacity as Trustee;
        MORRIL HARRIMAN, in his official capacity as Trustee;
        MARK WALDRIP, in his official capacity as Trustee; and,
        JOHN GOODSON, in his official capacity as Trustee                            DEFENDANTS

                                COMPLAINT- CLASS ACTION
                     FOR DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

               Plaintiffs Philip Palade, Gregory Borse, and J. Thomas Sullivan, on the behalf of

        themselves and all others similarly situated, in support of their Class-Action Complaint for

        Declaratory Judgment and Injunctive Relief, state:

                            JURISDICTIONAL AND VENUE ALLEGATIONS

               1.      The University of Arkansas is a land-grant state university offering statewide

        educational opportunities ranging from certificate programs to post-doctoral study at twenty-one

        principal campus units, divisions, or administrative units (the "University of Arkansas System").

        The Board of Trustees of the University of Arkansas (the "Board") is the governing body of the

        University of Arkansas System.

               2.      Pursuant to Arkansas Code Annotated 6-64-202, the Board is made a body politic
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      and corporate, whose powers are restricted by the United States Constitution, Constitution of the

      State of Arkansas, and the laws of the State of Arkansas. The ~oard is entrusted with the policy-

      making decisions for the University of Arkansas System. The Board specifically manages and

      controls all faculty-related policy for the University of Arkansas System.

             3.        The Board is comprised of ten (10) trustees representing each of Arkansas' four

      congressional districts:

                  a. Ed Fryar, Ph.D., is a member of the Board. Dr. Fryar is sued in his official capacity

                       as a member of the Board, and he resides in Rogers, Benton County, Arkansas.

                  b. Steve Cox is a member of the Board. Mr. Cox is sued in his official capacity as a

                       member of the Board, and he resides in Jonesboro, Craighead County, Arkansas.

                  c. Tommy Boyer is a member of the Board. Mr. Boyer is sued in his official capacity

                       as a member of the Board, and he resides in Fayetteville, Washington County,

                       Arkansas.

                  d. Sheffield Nelson is a member of the Board. Mr. Boyer is sued in his official

                       capacity as a member of the Board, and he resides in Little Rock, Pulaski County,

                       Arkansas

                  e. C.C. "Cliff' Gibson is a member of the Board. Mr. Gibson is sued in his official

                       capacity as a member of the Board, and he resides in Monticello, Drew County,

                       Arkansas.

                  f.   Stephen Broughton, M.D. , is a member of the Board. Dr. Broughton is sued in his

                       official capacity as a member of the Board, and he resides Pine Bluff, Jefferson

                       County, Arkansas.

                   g. Kelly Eichler is a member of the Board and currently serves as the Board' s



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                  Assistant Secretary. Mrs. Eichler is sued in her official capacity as a member of

                  the Board, and she resides in Little Rock,.Pulaski County, Arkansas.

             h. Morril Harriman is a member of the Board and currently serves as the Board's

                  Secretary. Mr. Harriman is sued in his official capacity as a member of the Board,

                  and he resides in Little Rock, Pulaski County, Arkansas.

             1.   Mark Waldrip is a member of the Board and currently serves as the Board' s Vice

                  Chairman. Mr. Waldrip is sued in his official capacity as a member of the Board,

                  and he resides in Moro, Lee County, Arkansas.

             J.   John Goodson is a member of the Board and currently serves as the Board's

                  Chairman. Mr. Goodson is sued in his official capacity as a member of the Board,

                  and he resides in Texarkana, Miller County, Arkansas.

       4.         Plaintiffs are tenured faculty members employed by the University of Arkansas

System and reside in Pulaski County and Drew County, Arkansas. Plaintiffs bring this action

pursuant to Rule 23 of the Federal Rules of Civil Procedure on the behalf of themselves and all

similarly situated faculty members within the University of Arkansas System.             The "Class"

includes all individuals who held by appointment tenure-track or tenured positions within the

University of Arkansas System on March 29, 2018, when the Board passed and adopted the

Revised Policy.

       5.'        The Class is represented by the following three University of Arkansas faculty

members:

              a. Philip Palade, Ph.D., is a Professor of Pharmacology and Toxicology at the

                  University of Arkansas for Medical Sciences (UAMS). Dr. Palade has had a

                  distinguished career in biomedical sciences. He obtained his Ph.D. in Biology from



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   the University of Pennsylvania. His first faculty position was in the Department of

   Physiology and Biophysics at the University of Texas Medical Branch in Galveston

   where he became a Professor in 1996. He moved to UAMS in 2005. He is the

   author of 88 publications in peer-reviewed journals, several book chapters and

   reviews. Dr. Palade has been the recipient of eight prestigious ROI grants and two

   other grants from the National Institutes of Health totaling nearly $9,000,000, as

   well as grants from numerous other funding agencies. Dr. Palade is the President

   of the UAMS chapter of the American Association of University Professors

   (AAUP).

b. Gregory Borse, Ph.D., is an Associate Professor of English and Philosophy at the

   University of Arkansas at Monticello where he has taught since 2008. Dr. Borse

   holds a Ph.D. in English from Louisiana State University and Master of Arts and

   Bachelor of Arts from the University of Dallas. Dr. Borse is the author of the

   forthcoming novel The Incorruptibles (A&M Publishing 2019), as well as Other

   Canons: A Selection of Non-Western Literary Masterpieces (Fountain Head Press

   2012) - a college level textbook for use in World Literature courses. Dr. Borse is

   past chair of the Arkansas Philological Association' s Annual Conference, past

   chair, vice-chair, and secretary of the University of Arkansas at Monticello

   Assembly, past editor and peer reviewer of the Arkansas Philological Review,

   multiple nominee of the Hornaday Excellence in Teaching Award at UAM and past

   winner of Teacher of the Year at Ivy Tech Community College oflndiana (Wabash

    Campus). Dr. Borse teaches courses in film, philosophy, literary theory and

    criticism, and World and English Literature. Dr. Borse also has presented or



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                published on William Faulkner, Jane Austen, W.B. Yeats, Shakespeare, and

                directors Alfred Hitchcock _and Stephen Frears.

             c. J. Thomas Sullivan is a Distinguished Professor of Law at the University of

                Arkansas at Little Rock Bowen School of Law and has taught at the Bowen School

                of Law since 1988. He is the Founding Editor of The Journal ofAppellate Practice

                and Process which is published by the Bowen School of Law and is licensed to

                practice law in Arkansas, Texas, New Mexico and Colorado. He has argued before

                the United States Supreme Court, United States Courts of Appeals for the Fifth,

                Eighth and Tenth Circuits, the Arkansas Supreme Court, Texas Supreme Court,

                Texas Court of Criminal Appeals and New Mexico Supreme Court. Mr. Sullivan

                has represented criminal defendants at trial, on appeal and in the post-conviction

                process in capital and non-capital criminal proceedings since joining the faculty at

                the Bowen School of Law. •

       6.       On March 29, 2018, the Board, for the first time since October 2, 2001, adopted

and passed revisions to Policy 405 .1, governing faculty promotion, tenure, and annual reviews

(hereinafter the "Revised Policy").

       7.       When the Board passed the Revised Policy, the Board (a) unilaterally and without

the consent of Plaintiffs or the others within the Class made material changes to tenured and tenure-

track faculty member's contractual rights as employees of the University of Arkansas System and

(b) violated the constitutional rights of Plaintiffs.
                                                                                     '
        8.      Plaintiffs seek to invalidate the Revised Policy with respect to the Class. This

lawsuit also requests that the Court enjoin the Board from applying the Revised Policy to the Class

as of March 29, 2018, in violation of their constitutional rights.



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       9.      Specifically, Plaintiffs seek entry of a declaratory judgment pursuant to 28 U.S.C .

§§ 2201 and 2202, declaring the ri$hts, power, and other legal relations between the parties as it

concerns the Board's adoption of the Revised Policy. The adoption of the Revised Policy and any

subsequent application of the Revised Policy violates not only the Constitutions of the United

States of America and the State of Arkansas but also well-established Arkansas legal principles

concerning the interpretation and unilateral modification of contracts. Plaintiffs, in addition to the

declaration of rights pursuant to 28 U .S.C. §§ 2201 and 2202, request that the Court enter a

permanent injunction pursuant to 42 U.S .C. §§ 1983 and 1988, enjoining the Board from applying

the Revised Policy to the Plaintiffs and awarding the Plaintiffs their attorneys' fees and expert fees

in pursuing this class action.

        10.    This Court has subject-matter jurisdiction over this matter pursuant to 28 U.S .C. §§

1331 , 1343, & 1367. This Court has the authority to grant (a) declaratory relief under 28 U.S.C .

§§ 2201 and 2202 and Federal Rule of Civil Procedure 57 and (b) injunctive relief under 42 U.S .C.

§§ 1983 and 1988 and Federal Rule of Civil Procedure 65. Venue, moreover, is proper in this

judicial district pursuant to 28 U.S .C. § 1391.

        11.     To avoid confusion and for ease of reference throughout the Complaint, the

"Original Policy" shall mean Policy 405.1 revised on October 2, 2001, and in effect through June

30, 2019, and the "Revised Policy" shall mean Policy 405.1 passed and adopted by the Board on

March 29, 2018, and which becomes effective on July 1, 2019.

        12.     The Original Policy is attached hereto and incorporated herein by reference as

Exhibit 1 to this Complaint. The Revised Policy is attached hereto and incorporated herein by

reference as Exhibit 2 to this Complaint. A redlined comparison of the Original Policy and the




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Revised Policy is attached hereto and incorporated herein by reference as Exhibit 3 to this

Complaint.

                                 FACTUAL ALLEGATIONS

       13.     Faculty members for the University of Arkansas System are employees who hold a

specified academic rank as defined by the Board. Members of the faculty are generally divided

into three groups: tenured, tenure-track, and non-tenure track.

        14.     A faculty member who strives to be tenured, which is the right to continuous

appointment, may receive an appointment to a tenure-track position that carries with it a

probationary period. As a tenure-track faculty member, the individual is required to complete

research or other scholarship in the field of study in which the faculty member is appointed.

        15.     After the tenure-track faculty member has completed the probationary period, the

individual is either awarded tenure or receives written notice of non-reappointment.

        16.     Part of the terms of tenure-track and tenured faculty members' employment with

the University of Arkansas System are the policies and procedures promulgated by the Board that

govern promotion, tenure, and annual reviews, like the Original Policy and the Revised Policy at

issue in this matter.

        17.     In September 2017, the University of Arkansas System released an initial draft of

proposed revisions to the Original Policy. In a subsequent undated document, the Office of the

General Counsel of the University of Arkansas System (the "Counsel's Office") asserted that the

revisions were intended to ensure University policies were appropriate in the light of what the

University believes is the changing landscape of higher education.

        18.     The proposed revisions to the Original Policy, however, changed the rules and

regulations applicable to the promotion, tenure, and annual review for faculty members. The



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proposed revisions, moreover, changed the rules and regulations applicable to dismissal of faculty

in the University of Arkansas System.

       19.     The initial draft of the revisions to the Original Policy were provided to campus

Chancellors with instructions to circulate them on their campuses for feedback.          Feedback

regarding the proposed revisions to the Original Policy was provided through January 2018 . The

feedback was overwhelmingly negative, and faculty throughout the University of Arkansas System

expressed significant reservations regarding the revisions to the Original Policy.

       20.     In mid-February 2018, the University of Arkansas System released a new draft of

the proposed revisions to the Original Policy, but this time with explanations for some of the

revisions in response to the feedback received through January 2018. The University of Arkansas

System's explanations, however, lacked any reasonable identification of how or why the public

interest would be served by the proposed revisions or even the purpose behind the revisions in the

first instance, except to generically state the revisions were necessary for the changing landscape

of higher education and clarity.

       21.     A final draft of the revisions to the Original Policy was released on March 19, 2018.

       22.     The Board voted and enacted the Revised Policy on March 29, 2018, at the Board' s

meeting in Monticello, on the campus of the University of Arkansas at Monticello, one of the sister

institutions of the University of Arkansas System. The Revised Policy becomes effective on July

1, 2019.

        23.    By its terms, the Revised Policy purports to apply to all faculty employed by the

University of Arkansas System, including those who obtained tenure or entered the tenure-track

prior to the adoption of the Revised Policy. And, in a memorandum released in November of 2017

that addressed various questions regarding the amendments, the Counsel's Office expressly stated



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that the Revised Policy is intended to apply to all faculty.

       24.    . When the Board passed the Revised Policy, the Board did so with almost no faculty

support and without any objective research or contemporaneous statements of reason in support of

the Revised Policy.

        25.    The Board, likewise, has not provided any public interest justification that is served

by the Revised Policy or even how the Revised Policy will serve the public better than the Original

Policy it is supplanting.

        26.    Indeed, the generic reasoning provided by the Board - the revisions were necessary

for the changing landscape of higher education and clarity- simply crumbles under even a cursory

review of the revisions made to the Original Policy.

                                The Revisions to Board Policy 405.1

        27.     "Tenure" in the Original Policy and Revised Policy is defined as the "right of

continuous appointment."

        28.     Both versions of the Policy explain that tenure is "awarded by the President to

eligible members of the faculty upon successful completion by each of a probationary period."

        29.     Both versions of the Policy also state that " [t]he granting of tenure implies that the

individual has completed successfully his or her probationary period and has become a permanent

member of the University community. As such, he or she acquires additional procedural rights in

the event that dismissal proceedings may be brought against him or her."

        30.     The definition of "cause," has also been changed in the Revised Policy, however,

and unquestionably expands the grounds upon which a faculty member may be fired for "cause."

        31.     "Cause" in the Original Policy is defined as:

        [C]onduct which demonstrates that the faculty member lacks the ability or
        willingness to perform his or her duties or to fulfill his or her responsibilities to the


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           University.

           32.    In contrast, the Revised Policy defines "cause" as:

           [C]onduct that demonstrates the faculty member lacks the willingness or ability to
           perform duties or responsibilities to the University, or that otherwise serves as
           the basis for disciplinary action.

    (Emphasis added.)

           33 .   The additional language in the Revised Policy - "or that otherwise serves as the

    basis for disciplinary action" - exponentially expands the scope of the definition of "cause" for

    dismissal of the faculty member and modifies the faculty member's contract with the Board

    without the faculty member's consent.

           34.     Likewise, the definition of "cause" in the Original Policy provides as follows:

           Examples of such conduct include (but are not limited to) incompetence, neglect of
           duty, intellectual dishonesty and moral turpitude.

           35 .    These four "examples" of conduct that may be the bases for termination for cause

    in the Original Policy all reflect extreme problems with a faculty member and 'are limited in their

    nature and scope.

           36.     The definition of "cause" in the Revised Policy, in contrast to the Original Policy's

    four "examples," offers a list of 12 non-exclusive "grounds" that are more than mere examples of

    conduct but broad and vague descriptions of conduct that constitute the necessary justification for

    any administrator to dismiss a faculty member for "cause."

           37.     The 12 "grounds" for terminating a faculty member for "cause" in the Revised

    Policy are:

           (1) unsatisfactory performance ... concerning anmial reviews; (2) professional
           dishonesty or plagiarism; (3) discrimination, including harassment or retaliation,
           prohibited by law or university policy; (4) unethical conduct related to fitness to
           engage in teaching, research, service/outreach and/or administration, or otherwise
           related to the faculty member' s employment or public employment; (5) misuse of


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       appointment or authority to exploit others; (6) theft or intentional misuse of
       property; (7) incompetence or a mental incapacity that prevents a faculty member
       from fulfilling his or her job responsibilities; (8) job abandonment; (9) a pattern of
       conduct that is detrimental to the productive and efficient operation of the
       instructional or work environment; (10) refusal to perform reasonable duties ; (11)
       threats or acts of violence or retaliatory conduct; or (12) violation of University
       policy, or state or federal law, substantially related to performance of faculty
       responsibilities or fitness to serve the University.

       38.     Although the "examples" of conduct in the Original Policy are consistent with some

of the "grounds" for termination listed in the Revised Policy, not all of the "grounds" in the Revised

Policy are consistent with the "examples" in the Original Policy.

       39.     The Revised Policy makes quantitative changes to the definition of "cause" by

expanding the list of "grounds" that justify termination. For instance, faculty purportedly may be

dismissed for "cause" under the Revised Policy for "unethical conduct, ... a pattern of conduct

that is detrimental to the productive and efficient operation of the instructional or work

environment[,]" and for "unsatisfactory performance . .. concerning annual reviews."

        40.    Each of the "grounds" in the Revised Policy listed in the previous paragraph sets a

far lower standard for termination of a faculty member than any of the "examples" in the Original

Policy. Accordingly, the Revised Policy also makes qualitative changes by including new types

of "grounds" that constitute less serious justifications for dismissal.

        41 .   A fundamental principle of interpretation that applies to the Revised Policy is that,

when a general term is coupled with specific illustrations, those illustrations play a central role in

defining the scope of the general term. This means that a general word or phrase changes meaning

depending on the specific illustration included with the general word or phrase. Accordingly, the

general "cause" standard in the Original Policy -      "lacks the willingness or ability to perform

duties or responsibilities" -   now plainly has a much broader meaning under the Revised Policy

because of the expansive, non-exclusive list of "grounds" associated with that general phrase.


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                            Policy Interests Favor Tenure Protections

       42.     The concept of tenure is "the product of historical experience and long debate. Its

adoption is not merely a reflection of solicitude for the staffs of academic institutions, but of a

concern for the general welfare by providing for the benefits of uninhibited scholarship and its full

dissemination. The security provided therefore by the consensus of learned authority should not

be indifferently regarded. It should be vigilantly protected by a court of equity .. . [.]" AAUP v.

Bloomfield, 322 A.2d 846, 853-54 (N.J. Super. 1974) (emphasis added).

       43.     Tenure serves an essential institutional goal of providing academic freedom and
                                                                                       I




economic security to an institution's staff; both of which are necessary if an institution is

committed to fulfilling the institution's obligations to its students, the taxpayers, and society in

general. Stated differently, tenure is a common expectation of employment in academia and has

been instituted to protect against the potential evils in state and/or local government of arbitrary or

politically-motivated dismissals or discipline.

       44.     Indeed, without tenure, a person of academic potential would be less likely to

intentionally invest (1) thousands of hours and dollars into years of specialized study necessary to

secure a degree, such as a Ph.D. and (2) several additional years in probationary status at a college

or university seeking tenure - wherein one has to further prove his or her academic excellence and

responsibility - since even the slightest disagreement with a superior or co-worker could provide

"cause" for termination.

        45 .    Chief Justice Warren explained the essential nature of tenure in Sweezy v. New

Hampshire, 354 U.S. 234, 250 (1957), stating:

        The essentiality of freedom in the community of American universities is almost
        self-evident. No one should underestimate the vital role in a democracy that is
        played by those who guide and train our youth. To impose any strait jacket upon
        the intellectual leaders in our colleges and universities would imperil the future of


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          our Nation. No field of education is so thoroughly comprehended by man that new
          discoveries cannot yet be made. * * * Scholarship cannot flourish in an atmosphere
          of suspicion and distrust. Teachers and students must always remain fre~ to inquire,
          to study and to evaluate, to gain new maturity and understanding; otherwise our
          civilization will stagnate and die.

          46.    The educational soundness of tenure also has been confirmed by empirical study.

See Ronald Ehrenberg & Liang Zhang, Do Tenure and Tenure-Track Faculty Matter ?, 40 J.

H UMAN RESO URCES 647 (2005) (concluding that the increased use of part-time and non-tenure

track faculty is associated with higher drop-out rates and lower rates of graduation of students,

especially at public institutions); J. Stephen Ferris and Michael McKee, Matching Candidates With

Academic Teams: A Case For Academic Tenure, 25 lNT'L REv. L. & ECON . 290, 309 (2005)

(Tenure and the rigor of the tenure policy is "a positive predictor of [academic] department

performance and output.").

          47.    The Revised Policy undermines a major tenet of tenure, which is that the tenured

faculty member will be terminated only as a last resort and only after all other avenues for redress

are exhausted. The Revised Policy does this by eliminating the Original Policy's restrictions on

termination for "cause" - i.e., a narrow set of extreme examples that justify termination for "cause"

- and replacing those protections with nearly limitless administrative authority on the part of the

Board and University of Arkansas System administrators to terminate or discipline tenured and

tenured-track faculty .

          48 .   The Revised Policy materially changes the meaning of the Original Policy and does

not merely 'clarify' it, as has been publicly claimed by the Board as justification for the Revised

Policy.

          49.     By obliterating the fundamental safeguards provided by tenure, the Revised Policy

puts all University of Arkansas System faculty at a much greater risk of being terminated,



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disciplined, or otherwise harassed based on an administrator's or trustee's disapproval of the

content of a faculty member's teaching, research, service, or even st8:tements made completely

outside the campus setting.

       50.      Moreover, termination and discipline for "cause" are the very heart of tenure

protection. Accordingly, the changes made in the Revised Policy are a fundamental modification

to faculty employment contracts. And the "protections" in the Revised Policy are wholly incapable

of assuring fairness and regularity or dispelling the chilling effect that the threat of discretionary

and indiscriminate dismissal or other forms of discipline casts over academic pursuits.

                                    CLASS ALLEGATIONS

        51.     Under Federal Rule of Civil Procedure 23(a), "[o]ne or more members of a class

may sue or be sued as representative parties on behalf of all members only if: (1) the class is so

numerous that joinder of all members is impracticable; (2) there are questions of law or fact

common to the class; (3) the claims or defenses of the representative parties are typical of the

claims or defenses of the class; and (4) the representative parties will fairly and adequately protect

the interests of the class."

        52.     Under Federal Rule of Civil Procedure 23(b), in addition to the requirements found

in Rule 23(a), a class may be maintained if (1) separate prosecutions by difference class members

would create a risk of inconsistent adjudications or adjudications that, as a practical matter, would

be dispositive of other class members' interests, (2) the relief sought is appropriate for the class as

a whole and it is relief the party opponent refuses to provide, or (3) the court determines that (a)

the questions of law and/or fact common to the class predominate over any questions affecting

only individual members and (b) the class is superior to other available methods of obtaining the

relief sought by the class.



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             53.    Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

      Procedure on the behalf of themselves and all similarly situated faculty members within the

      University of Arkansas System.

             54.    The "Class" is defined as follows : All individuals who held by appointment tenure-

      track or tenured positions within the University of Arkansas System on March 29, 2018, when the

      Board passed and adopted the Revised Policy.

             55.     The exact number of the members of the Class is unknown at this time, but the

      number is estimated to be in the hundreds, making the class so numerous that joinder of all

      members is impracticable.

             56.     As demonstrated, there are questions of law or fact common to the Class that

      predominate over any questions affecting only individual members, and Plaintiffs' claims are

      typical of those of the members of the Class.

             57.     Plaintiffs will fairly and adequately protect the interest of the Class and have

      retained counsel that is experienced in litigation of complex matters. Plaintiffs have no interest

      which conflicts with those of the Class.

             58.     A class action is superior to other available methods for the fair and efficient

      adjudication of this controversy.

             59.     No members of the Class have a substantial interest in individually controlling the

      prosecution of a separate action. The inability to recover damages for the unconstitutional action

      taken by the Board as a result of sovereign immunity makes it virtually impossible for the

      individual Class members to effectively redress the wrongs done to them because of the burden

      and expense of individual prosecution of these violations.

             60.     The prerequisites to maintaining a class action for injunctive and equitable relief



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are met as the Board has acted or refused to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive or equitable. relief with respect to the Class ripe for

adjudication by this Court.

       61 .    The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for the Board. For

example, one court may enjoin the Board from implementing the Revised Policy whereas another

court may not. Individual actions, moreover, could be dispositive of the interest of the other Class

members if the other Class members are not made parties to such action.

       62.     The Board's conduct is applicable to the Class as a whole, and Plaintiffs seek

declaratory and equitable remedies with respect to the Class as a whole.

       63.     As such, the Board's unconstitutional actions in adopting and passing the Revised

Policy and making the Revised Policy retroactively applicable to all faculty members in the

University of Arkansas System without their consent makes declaratory and injunctive relief

appropriate with respect to the Class as a whole.

         COUNT I-DECLARATORY JUDGMENT AND INJUNCTIVE RELEIF
           (UNITED STATES CONSTITUTION - CONTRACTS CLAUSE)

       64.     Plaintiffs seek the entry of a declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202, declaring the Class's rights, power, and other legal relations with the Board as it

concerns the Revised Policy. Plaintiffs also seek the entry of an injunction pursuant to 42 U.S.C .

§§ 1983 and 1988, enjoining the Board from applying the Policy to the Class members.

        65.    Under the Constitution of the United State of America, "[n]o State shall .. . pass

any Bill of Attainder, ex post facto Law, or Law impairing the Obligation of Contracts[.]" U.S.

Const. art. I, § 10, cl. 1 (the "Contracts Clause").

        66.    "Bills of attainder, ex-post-facto laws, and laws 1mpamng the obligation of


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contracts, are contrary to the first principles of the social compact, and to every principle of sound

legislation. The two former are expressly prohibi~ed by the declarations prefixed to some of the

State constitutions, and all of them are prohibited by the spirit and scope of these fundamental

charters. Our own experience has taught us, nevertheless, that additional fences against these

dangers ought not to be omitted. Very properly, therefore, have the convention added this

constitutional bulwark in favor of personal security and private rights; and I am much deceived if

they have not, in so doing, as faithfully consulted the genuine sentiments as the undoubted interests

of their constituents. The sober people of America are weary of the fluctuating policy which has

directed the public councils. They have seen with regret and indignation that sudden changes and

legislative interferences, in cases affecting personal rights, become jobs in the hands of

enterprising and influential speculators, and snares to the more-industrious and less informed part

of the community. They have seen, too, that one legislative interference is but the first link of a

long chain of repetitions, every subsequent interference being naturally produced by the effects of

the preceding. They very rightly infer, therefore, that some thorough reform is wanting, which will

banish speculations on public measures, inspire a general prudence and industry, and give a regular

course to the business of society." James Madison, Federalist Paper No. 44, RESTRICTIONS ON

THE AUTHORITY OF THE SEVERAL STATES (January 25 , 1788).

        67.     "A three-part test determines whether a [law] violates the Contracts Clause."

Hawkeye Commodity Promotions, Inc. v. Vilsack, 486 F.3d 430, 436 (8th Cir. 2007).

        68.     The first part is "whether the state law has, in fact, operated as a substantial

impairment on pre-existing contractual relationships." Id. (internal quotation marks omitted).

"This question ' has three components: [1] whether there is a contractual relationship, [2] whether

a change in law impairs that contractual relationship, and [3] whether the impairment is



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substantial."' Id. (quoting Gen. Motors Corp. v. Romein, 503 U.S. 181 , 186 (1992)).

       69.     The second part is "whether.the state has a significant and legitimate public purpose

behind the! regulation." Id. at 438 (internal quotation marks omitted). And, the third part is

"whether the adjustment of the rights and responsibilities of contracting parties is based upon

reasonable conditions and is of a character appropriate to the public purpose justifying the

adoption." Id. at 439 (internal quotation marks omitted).

       70.     The Revised Policy violates the Contracts Clause of the United States Constitution,

and Plaintiffs request that the Court enter a declaratory judgment in favor of the Class.

       71.     A contractual relationship exists, and the Revised Policy operates as a substantial

impairment to the contractual relationship between the Class and the Board. The expansion of the

list of "grounds" for termination for "cause" fundamentally alters the Class' s contractual

relationship with the Board and undermines the very purpose of that contractual relationship, as

well as the Class's reasonable expectations of continuous appointment. In other words, the

impairment is substantial.

       72.     The Board does not have any legitimate public purpose to justify the Revised

Policy. Deference to the Board's decision to adopt the Revised Policy is not appropriate because

affirming the Revised Policy is in the Board' s self-interest.

       73.     The Revised Policy is a consolidation of administrative power to insulate the Board

from lawsuits and expand qualified immunity while doing nothing to further protect the rights of

the Class's members - the other parties to the contract the Board has unilaterally modified in

violation of the U.S. Constitution.

       74.     The Revised Policy fails to adjust the rights and responsibilities of the Class and

the Board based on any reasonable condition.



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       75.     Inherent in a tenure system is certain inflexibility in firing decisions by the

employing academic institution. Upon adopting such a system and granting tenure to employees,

the Board is prohibited from impairing its contractual obligations to the Class by granting itself

greatly expanded power to terminate or discipline for "cause" faculty who were tenured or on the

tenure-track prior to the adoption of the Revised Policy.

       76.     The Board's actions effectively destroy the concept of tenure by enabling the

University of Arkansas System to terminate faculty on almost any ground through the application

of the overly-broad and ubiquitous "grounds" for dismissal listed in the Revised Policy.

       77.     Further, the Revised Policy provides an avenue to endlessly reduce faculty member

salaries as retaliation for failure to comply with the much broader Revised Policy.

       78.     For these reasons, Plaintiffs submit the Class is entitled to a declaratory judgment

that the Revised Policy violates the Contracts Clause of the United States Constitution because it

substantially impairs the contractual relationship between the Class and the Board without a

legitimate purpose to justify the revisions.

       79.     For these reasons, Plaintiffs also submit that the Class is entitled to an injunction,

enjoining the Board from applying the Revised Policy to the Class, because the Revised Policy

violates the Class's rights pursuant to the Contracts Clause of the United States Constitution.

        80.    Plaintiffs seek their attorneys' fees in prosecuting this action pursuant to 42 U.S.C.

§§ 1983 and 1988 and Ark. Code Ann. §§ 16-22-308 and 16-123-105.

        COUNT II- DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
         (UNITED STATES CONSTITUTION -DUE PROCESS VIOLATIONS)

        81.    Plaintiffs seek the entry of a declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202, declaring the Class ' s rights, power, and other legal relations with the Board as it

concerns the Revised Policy. Plaintiffs also seek the entry of an injunction pursuant to 42 U.S.C.


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    §§ 1983 and 1988, enjoining the Board from applying the Policy to the Class members.

           82.       In Arkansas Dept. of Human Servs. v. Walter, 315 Ark. 204, 210, 866 S.W.2d 823 ,

    825 (1993), the Arkansas Supreme Court held "that statutes can be construed to operate

    retroactively so long as they do not disturb contractual or vested rights or create new obligations."

    The Court also held "that it would violate due process to disturb vested rights or contractual rights."

    Id.

           83.       The contractual and vested rights of the Class 'are not merely the generic right to

    termination only for "cause." It is the right to termination only for "cause" as set forth in the

    tenure agreements between the institution and the individual Class members. If that were not

    the case, then the Board could change the definition of "cause" at its discretion to eviscerate tenure

    protections for existing faculty, which is what the Board has attempted to do with the Revised

    Policy in this matter to the harm and detriment of the Class.

            84.      The Revised Policy adopted by the Board violates the Class' s due process rights

    because the Revised Policy retroactively disturbs the contractual and property rights and

    contractual relationship between the parties.

            85.      For example, the Revised Policy adopted by the Board retroactively allows the

    Board and institutional administrators to use annual reviews of the individual Class members to

    be the basis for termination, which was not allowed under the Original Policy.

            86.      In addition, the Revised Policy adopted by the Board retroactively provides

    numerous additional "grounds" that an administrator may use to justify termination of Class

    members.       Many of these grounds concern substantially less problematic activity than the

    examples listed in the Original Policy.

            87 .     The retroactive nature of the Revised Policy violates the Class members' rights



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pursuant to the Fifth and Fourteenth Amendments to the United States Constitution.

       88.     If the Revised Policy is allowed to become effective, it will cause irreparable harm

to the Class by fundamentally weakening the Class' s contractual and vested rights. Indeed, the

Revised Policy will eviscerate the contractual and vested rights of the Class.

       89.     In sum, the Board may not retroactively interfere with vested rights of the Class as

it has done here without also violating the Class members' substantive due process rights.

       90.     For these reasons, Plaintiffs submit the Class is entitled to a declaratory judgment

that the Revised Policy violates the Class's due process rights pursuant to the Fifth and Fourteenth

Amendments to the United States Constitution.

       91.     For these reasons, Plaintiffs also submit that the Class is entitled to an injunction,

enjoining the Board from applying the Revised Policy to the Class, because the Revised Policy

violates the Class's due process rights pursuant to the Fifth and Fourteenth Amendments to the

United States Constitution.

       92.     Plaintiffs seek their attorneys' fees in prosecuting this action pursuant to 42 U.S.C.

§§ 1983 and 1988 and Ark. Code Ann.§§ 16-22-308 and 16-123-105.

        COUNT III-DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
             (ARKANSAS CONSTITUTION - CONTRACTS CLAUSE)

       93.     Plaintiffs seek the entry of a declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202, declaring the Class's rights, power, and the other legal relations between the parties as

it concerns the Board' s revisions to the Policy. Plaintiffs also seek the entry of an injunction

pursuant to 42 U.S.C. §§ 1983 and 1988, enjoining the Board from applying the Policy to the Class

members.

        94.    Under the Arkansas Constitution, "[n]o bill of attainder, ex post facto law, or law

impairing the obligation of contracts shall ever be passed[.]" Ark. Const. Art. II, § 17.


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        95.        In short, like the United States Constitution, Arkansas prohibits the state and its

instrumentalitjes from undermining contracts to which they are parties and contracts between

private parties.

        96.        The Class is entitled to a declaratory judgment that the Revised Policy violates

Article II, Section 17 of the Arkansas Constitution.

        97.        The Revised Policy operates as a substantial impairment to the contractual

relationship between the Class and the University of Arkansas System. The expansion of the list

of "grounds" for termination for "cause" fundamentally alters the Class's contractual relationship

with the Board and undermines the very purpose of that contractual relationship, as well as the

Class's reasonable expectations of continuous appointment.

        98.        The Board does not have any legitimate public purpose to justify the Revised

Policy. Deference to the Board' s decision to adopt the Revised Policy is not appropriate because

affirming the Revised Policy is in the Board' s self-interest. The Revised Policy is a consolidation

of administrative power being used to insulate the Board from lawsuits and expand qualified

immunity at the expense of the rights of the Class members.

        99.        The Revised Policy fails to adjust the rights and responsibilities of the Class and

the Board based on any reasonable condition.

        100.       Inherent in a tenure system is certain inflexibility in firing decisions by the

employing academic institution. Upon adopting such a system and granting tenure to employees,

the Board is prohibited from impairing its contractual obligations to the Class by granting itself

greatly expanded power to terminate or discipline for "cause" faculty who were tenured or on the

tenure-track prior to the adoption of the Revised Policy.

        101.       The Board' s actions effectively destroy the concept of tenure by enabling the



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University of Arkansas System to terminate faculty on almost any ground through the application

of the overly-broad and ubiquitous "grounds" for dismissal listed in the Revised Policy.

        102.    For these reasons, Plaintiffs submit the Class is entitled to a declaratory judgment

that the Revised Policy violates Article 2, Section 17 of the Arkansas Constitution because it

substantially impairs the contractual relationship between the Class and the Board without a

legitimate public purpose to justify the revisions.

        103.    For these reasons, Plaintiffs also submit the Class is entitled to an injunction,

enjoining the Board from applying the Revised Policy to the Class, because the Revised Policy

violates Article 2, Section 17 of the Arkansas Constitution by substantially impairing the

contractual relationship between the Class and the Board without a legitimate public purpose to

justify the revisions.

        104.    Plaintiffs seek their attorneys' fees in prosecuting this action pursuant to Ark. Code

Ann.§§ 16-22-308 and 16-123-105 .

                         COUNT IV - DECLARATORY JUDGMENT
                            (ARKANSAS CONTRACT LAW)

        105 .   Plaintiffs seek the entry of a declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202, declaring the Class' s rights, power, and the other legal relations between the parties as

it concerns the Board' s revisions to the Policy.

        106.    Under Arkansas law, both parties to a contract must consent to any changes to that

contract. See Bancorpsouth Bank v. Shields, 2011 Ark. 503 , 8, 385 S.W.3d 805 , 809. Indeed,

"[f]undamental principles of contract law require that the parties to a contract agree to any

modification of that contract." Id. "Those parties must manifest assent to the modification of a

contract and to the particular terms of such modification." Id.

        107.    " [A] subsequent agreement that purports to modify or change an existing agreement


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must be supported by consideration other than the consideration involved m the existing

agreement." Worden v. Crow, 2013 Ark. App. 234, 6, 427 S.W.3d 143, 147.

        108.    "Where there is no new consideration presented for the bargained for item, the new

agreement is void and of no effect for lack of mutuality of consideration." Id. at 6-7, 427 S.W.3d

at 147-48 .

        109.    The Revised Policy constitutes modifications to the Board' s contracts with the

Class without the consent of the Class members.

        110.    The Revised Policy materially changes the definition of "cause" under which an

administrator may seek to dismiss a Class member.

        111.    The Revised Policy materially changes the "grounds" for which an administrator

may seek to dismiss a Class member contained in the definition of "cause."

        112.    The Revised Policy materially changes the rules and regulations governing for-

cause dismissals for Class members.

        113.    The Revised Policy materially changes the rules and regulations govemmg

compensation, and its reduction, for Class members.

        114.    The Board is required to obtain the manifest assent of the Class before revisions to

the Policy may be validly enacted and applied to the Class members.

        115 .   In sum, the Revised Policy changes the contractual relationship that the Class

members have with the Board by greatly expanding the authority of the Board to terminate or

otherwise discipline the Class members for "cause" in comparison to the Original Policy.

        116.    Plaintiffs seek a declaratory judgment for the Class that, because the Class members

did not manifest their assent to the Revised Policy, the Revised Policy constitutes an impermissible

modification of the Board's contract with the Class members and may not be applied to the Class



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members.

        117.    For these reasons, Plaintiffs submit the Class is entitled to a declaratory judgment

that the Revised Policy violates Arkansas state law because the Board unilaterally altered the terms

of the Class ' s contracts without the assent of the Class, which is as much a requisite element in

effecting a contractual modification as it is in the initial creation of the contract.

        118.    Plaintiffs seek their attorneys ' fees in prosecuting this action pursuant to Ark. Code

Ann. §§ 16-22-308 and 16-123-105.

        COUNT V - DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
     (UNITED STATES CONSTITUTIONAL - FIRST AMENDMENT VIOLATION)

        119.    Plaintiffs seek the entry of a declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202, declaring the Class ' s rights, power, and the other legal relations between the parties as

it concerns the Board's revisions to the Policy. Plaintiffs also seek the entry of an injunction

pursuant to 42 U .S.C. §§ 1983 and 1988, enjoining the Board from applying the Policy to the Class

members.

        120.    The First Amendment is made applicable to the states through the Fourteenth

Amendment.

        121.    The Revised Policy greatly expands the grounds for a Class member to be fired,

which facially and as applied has a serious impact on the Class members' right to speak freely at

his or her respective academic institution.

        122.    Plaintiffs and other Class members have already suffered from a chilling effect after

the passage of the Revised Policy, including being extremely cautious of what is said in class and

what topics may be discussed openly in class without fear of termination under the Revised Policy.

This chilling effect caused by the Revised Policy is a limitation on and violation of Plaintiffs' and

the Class's rights under the First Amendment.


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          123.   For example, Professor Sullivan and other faculty members who would like to

speak out on matters of university policy and other matters of public concem currently feel the

suffocating and chilling effect of the new rule and are being more cautious with their speech in the

classroom and to colleagues for fear of retaliatory termination grounded in the broad Revised

Policy.

          124.   Another example of the umest and fear lies within the UAMS faculty. Highly

accomplished researchers and educators such as Dr. Palade are fearful of salary cuts due to the

amount of leeway provided by the Revised Policy if they resist problematic university action.

          125.   The ability of a faculty member to speak openly and freely in the academic setting

concerning politics, political decisions and the associated policy implications, and controversial

issues, topics, and ideas without fear of termination is protected by the First Amendment.

          126.   For these reasons, Plaintiffs submit the Class is entitled to a declaratory judgment

that the Revised Policy violates their First Amendment rights.

          127.   For these reasons, Plaintiffs also submit that the Class is entitled to an injunction,

enjoining the Board from applying the Revised Policy to the Class, because the Revised Policy

violates the Class's rights pursuant to the First and Fourteenth Amendments to the United States

Constitution.

          128.   Plaintiffs seek their attorneys' fees in prosecuting this action pursuant to Ark. Code

Ann. §§ 16-22-308 and 16-123-105.

           COUNT VI -DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
          (ARKANSAS CONSTITUTION - FREE COMMUNICATION VIOLATION)

          129.   Plaintiffs seek the entry of a declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202, declaring the Class's rights, power, and the other legal relations between the parties as

it concerns the Board's revisions to the Policy. Plaintiffs also seek the entry of an injunction


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pursuant to 42 U.S.C. §§ 1983 and 1988, enjoining the Board from applying the Policy to the Class

members.

       130.     "The free communication of thoughts and opinions, is one of the invaluable rights

of man; and all persons may freely write and publish their sentiments on all subj ects, being

responsible for the abuse of such right." Ark. Const., Art. 2, § 6.

       131.     Arkansas's Constitution regarding free communication is more expansive and

protects more than its federal counterpart.

        132.    The Revised Policy greatly expands the grounds for a Class member to be fired,

which facially and as applied has a serious impact on the Class members' right to freely

communicate thoughts and opinions at his or her respective academic institution.

        133 .   Plaintiffs and other Class members have already suffered from a chilling effect after

the passage of the Revised Policy, including being extremely cautious of what is said in class and

what topics and thoughts may be discussed openly in class without fear of termination under the

Revised Policy. This chilling effect caused by the Revised Policy is a limitation on and violation

of Plaintiffs' and the Class ' s rights under the Article 2, § 6 of the Arkansas Constitution.

        134.    The ability of a faculty member to communicate openly and freely in the academic

setting concerning politics, political decisions and the associated policy implications, and

controversial issues, topics, and ideas without fear of termination is protected by the Arkansas

Constitution.

        135.    For these reasons, Plaintiffs submit the Class is entitled to a declaratory judgment

that the Revised Policy violates their rights pursuant to Article 2, § 6 of the Arkansas Constitution.

        136.    For these reasons, Plaintiffs also submit that the Class is entitled to an injunction,

enjoining the Board from applying the Revised Policy to the Class, because the Revised Policy
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violates the Class's rights pursuant to Article 2, § 6 of the Arkansas Constitution.
                                                    (
        13 7.   Plaintiffs seek their attorneys' fees ln prosecuting _this action pursuant to Ark. Code

Ann.§§ 16-22-308 and 16-123-105.

       COUNT VII - DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
     (UNITED STATES CONSTITUTION -ACADEMIC FREEDOM VIOLATION)

        138.    Plaintiffs seek the entry of a declaratory judgment pursuant to 28 U.S.C. §§ 2201

and 2202, declaring the Class's rights, power, and the other legal relations between the parties as

it concerns the Board's revisions to the Policy. Plaintiffs also seek the entry of an injunction

pursuant to 42 U.S.C. §§ 1983 and 1988, enjoining the Board from applying the Policy to the Class

members.

        139.    The First Amendment is made applicable to the states through the Fourteenth

Amendment. The Court has made great efforts to protect faculty members from their academic

institutions suffocating their free speech rights by carving out specific protection for academic

freedom under the First Amendment.

        140.    Academic freedom is "the right (esp. of a university teacher) to speak freely about

political or ideological issues without fear of loss of position or other reprisal. " ACADEMIC

FREEDOM, Black's Law Dictionary (10th ed. 2014).

        141.    The drafters of the American Association of University Professor's 1915

Declaration ofPrinciples on Academic Freedom and Academic Tenure explained that "University

teachers should be understood to be, with respect to the conclusions reached and expressed by

them, no more subject to the control of the trustees than are judges subject to the control of the

president."

        142.    Academic freedom is often protected as part of "academic custom" or "academic

common law." Federal appeals courts, for instance, have found that jointly issued statements of


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the AAUP and other higher education organizations, such as the 1940 Statement, "represent widely

shared norms within the academic community" a.Q.d, therefore, may be legally relied

upon. Browzin v. Catholic University of America, 527 F.2d 843 , 848 n. 8 (D.C. Cir. 1975); see

also Roemer v. Board of Public Works of Mary land, 426 U.S. 736 (1976) (relying on 1940

Statement' s definition of academic freedom); Tilton v. Richardson, 403 U.S . 672 (1971 ) (same);

Bason v. American University, 414 A.2d 522 (D.C. 1980) (noting the "customs and practices of

the university").

        143.    The United States Supreme Court also has recognized that the doctrine of academic

freedom has a constitutional dimension and is closely associated with, or similar to, the rights of

free expression guaranteed by the Constitution.

        144.    "Our Nation is deeply committed to safeguarding academic freedom, which is of

transcendent value to all of us and not merely to the teachers concerned. That freedom is therefore

a special concern of the First Amendment, which does not tolerate laws that cast a pall of orthodoxy

over the classroom." Keyishian v. Bd. of Regents of Univ. of State of N Y , 385 U.S. 589, 603

(1967) (citations omitted).

        145.    Indeed, academic freedom includes a right of expression that is not subject to the

control of those who run a university. Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957).

        146.    During the McCarthy era of the 1950s, the U.S. Supreme Court began to develop

the notion of constitutional academic freedom . Those cases serve as persuasive authority that the

Arkansas Constitution offers at least as broad of a constitutional right.

        14 7.   Thirty-nine states, including Arkansas, protect freedom of speech in comprehensive

terms that exceed the limitations on governmental action contained in the First Amendment.

Compare U.S. Constitution' s Free Speech Right ("Congress shall make no law ... abridging the



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freedom of speech") with the Arkansas Constitution's Free Speech Right ("The free

communication of thoughts and opinions, is one <?f the invaluable rights of man; and all persons

may freely write and publish their sentiments on all subjects").

       148.    The University of Arkansas and various subdivisions thereof further bestowed

additional and overlapping academic freedom rights via school policy to faculty members, which

are also legally binding. See, e. g. , Greene v. Howard University, 412 F.2d 1128 (D.C. Cir. 1969)

(ruling faculty handbook "govern[ ed] the relationship between faculty members and the

university"). See also Jim Jackson, Express and Implied Contractual Rights to Academic Freedom

in the United States, 22   HAMLINE   L. REv. 467 (Winter 1999).

        149.   The Class members have tenure and academic freedom to ensure a robust exchange

of ideas, free from censorship and retaliation by authority. Tenure and academic freedom exist

specifically to protect the Class members from interference by the Board.

        150.   The Board's action in passing the Revised Policy effectively destroys the concept

of tenure and academic freedom by enabling the University of Arkansas System to terminate

faculty on almost any ground through the application of the overly-broad and ubiquitous "grounds"

for dismissal listed in the Revised Policy.

        151.   The Revised Policy's gutting of tenure and academic freedom protections is a direct

assault on the concept of academic freedom.

        152.   The core of the Revised Policy, moreover, strikes at the heart of tenure and

academic freedom and is nothing more than a veiled attempt to take away vested rights, to chill

debate, and to silence dissent amongst the Class members.

        153.   For these reasons, Plaintiffs submit the Class is entitled to a declaratory judgment

that the Revised Policy violates the Class members' constitutional right to academic freedom



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pursuant to the United States Constitution and Arkansas Constitution.

       154.    For these reasons, Plaintiff~ also submit that the Class is entitled to an injunction,

enjoining the Board from applying the Revised Policy to the Class, because the Revised Policy

violates the Class members ' constitutional right to academic freedom pursuant to the United States

Constitution and Arkansas Constitution.

       155.    Plaintiffs seek their attorneys' fees in prosecuting this action pursuant to 42 U.S.C.

§§ 1983 and 1988 and Ark. Code Ann.§§ 16-22-308 and 16-123-105 .

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in favor of

Plaintiffs, and the Class of all those similarly situated, against the Board of Trustees for the

University of Arkansas, and award the following relief (a) certify the Class, appoint Plaintiffs as

representatives of the Class, and approve Plaintiffs' undersigned counsel as counsel for the class;

(b) declare that the Board is financially responsible for notifying the Class of the pendency of the

suit; (c) declare the Revised Policy violates the Contracts Clause of the United States Constitution

because it substantially impairs the contractual relationship between the Class and the Board

without a legitimate public purpose to justify the revisions; (d) enjoin the Board from applying the

Revised Policy to the Class because it substantially impairs the contractual relationship between

the Class and the Board without a legitimate public purpose to justify the revisions; (e) declare the

Revised Policy violates the Class's due process rights pursuant to the Fifth and Fourteenth

Amendments to the United States Constitution; (f) enjoin the Board from applying the Revised

Policy to the Class because the Revised Policy violates the Class's due process rights pursuant to

the Fifth and Fourteenth Amendments to the United States Constitution; (g) declare that the

Revised Policy violates Article 2, Section 17 of the Arkansas Constitution because it substantially

impairs the contractual relationship between the Class and the Board without a legitimate public



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purpose to justify the revisions; (h) enjoin the Board from applying the Revised Policy to the Class

because the Revised Policy violat_es Article 2, Section 17 of the Arkansas Constitution and

substantially impairs the contractual relationship between the Class and the Board without a

legitimate public purpose to justify the revisions; (i) declare that, because the Class members did

not manifest their assent to the Revised Policy, the Revised Policy constitutes an impermissible

modification of the Board' s contract with the Class members and is "void and of no effect" as

applied to the Class; G) declare that the Revised Policy violates the Class's rights pursuant to the

First and Fourteenth Amendments to the United States Constitution; (k) enjoin the Board from

applying the Revised Policy to the Class because the Revised Policy violates the Class ' s rights

pursuant to the First and Fourteenth Amendments to the United States Constitution; (1) declare that

Revised Policy violates the Class' s rights pursuant to Article 2, § 6 of the Arkansas Constitution;

(m) enjoin the Board from applying the Revised Policy to the Class because the Revised Policy

violates the Class's rights pursuant to Article 2, § 6 of the Arkansas Constitution; (n) declare that

the Revised Policy violates the Class members' constitutional right to academic freedom pursuant

to the United States Constitution and Arkansas Constitution; (o) enjoin the Board from applying

the Revised Policy to the Class because the Revised Policy violates the Class members '

constitutional right to academic freedom pursuant to the United States Constitution and Arkansas

Constitution; (p) award Plaintiffs their costs and reasonable attorneys' fees pursuant to 42 U.S.C.

§§ 1983 and 1988 and Ark. Code Ann. §§ 16-22-308 and 16-123-105; and (q) grant Plaintiffs all

other relief as this Court deems just and proper.




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BOARD POLICY 405.1
APPOINTMENTS. PROMOTION. TENURE, NON-REAPPOINTMENT, AND DISMISSAL
OF FACULTY
This policy, adopted by the Board of Trustees on February 8, 1980, to become effective on July
1, 1980, supersedes all existing policies concerning appointments, promotion, tenure,
non-reappointment, and dismissal of faculty (specifically, Administrative Memorandum No. 43,
dated August 31, 1962; Universitywide Administrative Memorandum 421.1, dated December 6,
1976; Universitywide Administrative Memorandum 450.1, dated November 17, 1975 ; and Board
Policy 405.1, dated September 1, 1962, and revised). Nevertheless, an employee of the
University of Arkansas who held the rank of instructor prior to the effective date of this policy is
eligible for tenure in accordance with Section II.A.( 1-4) of Board Policy 405 .1 dated September
I , 1962, and revised. The Board of Trustees has the right to amend any portion of this policy at
any time in the future.
Copies of this statement of policies shall be kept by the dean of each college or school and by
each department head or chairperson or other appropriate official and shall be included without
change or inter-lineation in the Faculty Handbook for each campus. Care shall be taken to
insure that each faculty member is familiar with its contents, and the department chairperson or
other appropriate official shall supply a copy to each new member.


I.     Definition of Terms
       For purposes of this policy, the following definitions shall apply:
       Appointment - An appointment is employment by written contract ("Notice of
       Appointment") by the Board of Trustees of an individual in a given capacity for a
       specified time period at a stated salary. An appointment is valid only when the
       appointment form is approved and signed by the President of the University or the
       President's designee in accordance with authority delegated by the Board of Trustees, and
       the Notice of Appointment is signed by the individual being appointed and returned to the
       specified University official.
       Dismissal -Dismissal is severance from employment for cause after administrative due
       process as specified in Section IV-C. Non-reappointment is not a dismissal (see further).
       Facu lty - Faculty are employees who hold academic rank of lecturer, master lecturer,
       assistant instructor, instructor, assistant professor, associate professor, professor,
       distinguished professor, University professor, or one of the above titles modified by
       clinical, research, adjunct, visiting, executive in residence, or emeritus, e.g., clinical
       professor, adjunct assistant professor.
       Individuals holding the following non-teaching titles will also receive faculty rank, the
       highest rank for each title being as indicated. Both the title and the academic rank will be
       stated in the appointment.




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 Instructional and                    ,Cooperative Extension   '. Inst:rnctional

Research Ranks         Library       Service*             Developme                Museum
                                                          nt
University             Director      Extension Specialist Instructional            Curator
Profe ssor,            of            IV                   Developme
Distinguished          Libraries,                         nt Specialist
Professor, Professor   Librarian                          II
Associate Professor    Associate     Extension Specialist Instructional            Associat
                       Librarian     III                  Developme                e Curator
                                                          nt Specialist
                                                          I
Assistant Professor    Assistant     Extension Specialist                          Assistant
                       Librarian     II                                            Curator
                                     Extension Specialist
Instructor
                                     I

     *Academic rank will be granted only if the individual is appointed in an academic unit.
Non-Reappointment - Non-reappointment means that a non-tenured faculty member is not
offered a next successive contract for employment at the end of a stated appointment period. It
is effected by a written notice sent ii:i compliance with the time limits hereafter specified (IV.B.).
Probationary Period -The probationary period is the time a faculty member spends under
appointments for full-time services in a tenure-track position on one campus of the University of
Arkansas prior to being awarded tenure.
Promotion - Promotion is advancement based on merit to a higher rank or title. All promotions
must be approved by the Board of Trustees and become effective with the next year's
appointment following action of the Board of Trustees, unless a different effective date is
approved by the Board for a specific case.
Resignation - Resignation is voluntary termination of employment by an employee. The dean or
director of the unit to which the employee is assigned is authorized by the Board of Trustees to
accept the resignation.
Suspension - Suspension is temporarily relieving an employee of duties.
Tenure - Tenure is the right of continuous appointment. It is awarded by the President to eligible
members of the faculty upon successful completion by each of a probationary period and, once
granted, it ceases to exist only by dismissal for cause according to the procedures in Section
IV .C., demonstrably bona fide financial exigency, reduction or elimination of programs,
retirement, or resignation. "Cause" is defined as conduct which demonstrates that the faculty
member lacks the ability or willingness to perform his or her duties or to fulfill his or her
responsibilities to the University; examples of such conduct include (but are not limited to)
incompetence, neglect of duty, intellectual dishonesty, and moral turpitude. The probation period
may be waived as provided in Section IV.A.4. NOTE: Tenured faculty holding positions
eliminated by reduction or elimination of programs will be relocated in other academic units of
the campus whenever possible. A position occupied by a tenured faculty member which was




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eliminated as a result of reduction or elimination of a program may not be reactivated for a
period of five academic years.
Tenure-Track Positions -Tenure-track positions are ranks of assistant professor, associate
professor, professor, distinguished professor, and University professor. Faculty appointed to
clinical attending positions at the University of Arkansas for Medical Sciences, or other non-
tenure-track positions approved by the President, may bear the designation of assistant professor,
associate professor or professor but in no event shall be considered in tenure-track positions and
shall acquire no tenure rights by virtue of occupying such positions. Such non-tenure track
positions shall be set forth in applicable promotion and tenure policies approved by the President
which may authorize term appointments beyond one year.
Terminal Appointment -A terminal appointment is a final appointment, the expiration of which
results in termination of an individual's employment.
Termination - Termination is the general term to describe severance of employment from the
University . Termination may be by resignation, retirement, dismissal, non-reappointment, or
expiration of appointment.
Year -Year will be either a fiscal year (July I through June 30 next) or an academic year (fall and
spring semesters of the same fiscal year), unless otherwise designated.


II. Appointments
The following principles shall apply to appointments to faculty positions:
       A. General
Appointments shall be for a specified period of time not to exceed one fiscal year. Except for
appointments to faculty positions for summer school, appointments shall not extend beyond the
end of a fiscal year.
Recommendations for appointments to the faculty will be made by the departmental chairperson
after consultation with the departmental faculty concerned, and subject to the approval of the
dean, chief academic officer, and chief executive officer of the campus, who alone shall make
the final recommendation for appointment. (See definition of appointment, Page I.)
       B. Initial Appointment
Criteria and procedures for the initial appointment of all faculty members on a campus shall be
adopted by the faculty of that campus through its governance structure; the deans and chief
academic officer of the campus shall have an opportunity to give their advice regarding these
criteria and procedures ; these criteria and procedures must be submitted to the Chancellor of the
campus and the President for approval. More detailed criteria and procedures may be adopted by
the faculty and chairperson I of each academic unit; these criteria and procedures must be
submitted to the dean, the chief academic officer of the campus, the Chancellor of the campus,
and the President for approval.


1 For the purpose of this policy, and in reference to items involving professional librarians,
extension specialists, instructional development specialists, or museum curators the terms
"chairperson," "administrative officer," and "administrator" refer to the director or head librarian.



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An appropriate degree or professional experience is an essential qualification for appointment to
positions at academic ranks.
Other important qualifications include experience in teaching, research, or other creative activity,
and educational service either at other colleges and universities and/or in nonacademic settings.
       C. Successive Appointments
Tenured faculty members have a right to a next successive appointment except for the reasons
for termination of a tenured appointment given in Section I under definition of tenure.
Non-tenured faculty do not have a right to a next successive appointment, but may be offered an
appointment after the expiration of a current appointment, provided it does not extend the time in
probationary status beyond the limits set in Sections IV.A.4 and IV.A.I 1. In the event that a
non-tenured faculty member is not recommended for reappointment, the procedure described in
Section IV.B . shall be followed.
Criteria and procedures for successive appointments of all faculty members on a campus shall be
adopted by the faculty of that campus through its governance structure; the deans and chief
academic officer of the campus shall have an opportunity to give their advice regarding these
criteria and procedures; these criteria and procedures must be submitted to the Chancellor of the
campus and the President for approval. More detailed criteria and procedures may be adopted
by the faculty and chairperson of each academic unit; these criteria and procedures must be
submitted to the dean, the chief academic officer of the campus, the Chancellor of the campus,
and the President for approval.


III. Promotion
Promotion in academic rank shall be based primarily on the accomplishments of the individual
while in the most recent rank. No minimum time in rank is required before a faculty member is
eligible for promotion, nor is there a maximum time an individual may remain in a given rank
except as limited by Sections IV .A.4. and IV.A. I 1. However, individual accomplishments and
potential for continued value to the University are required for promotion.
Recommendations for promotion shall originate with the chairperson, who shall inform the
faculty members who are being considered for promotion and shall give them the opportunity to
submit material which they believe will facilitate consideration of their competence and
performance. Each campus shall provide for the inclusion of peer evaluation in the consideration
of faculty nominated for promotion.
Criteria and procedures for promotion to each rank on a campus, including an appeals procedure
for those desiring reconsideration of a negative recommendation, shall be adopted by the faculty
of that campus through its governance structure; the deans and chief academic officer of the
campus shall have an opportunity to give their advice regarding these criteria and procedures;
these criteria and procedures must be submitted to the Chancellor of the campus and the
President for approval. More detailed criteria and procedures may be adopted by the faculty and
chairperson of each academic unit; these criteria and procedures must be submitted to the dean,
the chief academic officer of the campus, the Chancellor of the campus, and the President for
approval.




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IV. Tenure, Non-reappointment, and Dismissal
       A. Tenure
I.     The granting of tenure implies that the individual has completed successfully his or her
probationary period and has become a permanent member of the University community. As
such, he or she acquires additional procedural rights in the event that dismissal proceedings may
be brought against him or her.
2.      Only full-time faculty with ranks of assistant professor, associate professor, professor,
distinguished professor, and University professor are eligible to be awarded tenure. Faculty and
other employees with the following titles are ineligible to be awarded tenure: clinical, research,
adjunct, visiting, or executive in residence faculty, research associates or research assistants,
graduate associates or graduate assistants, instructors, assistant instructors, and lecturers.
Faculty appointed to clinical attending positions at the University of Arkansas for Medical
Sciences, or other non-tenure track positions approved by the President, although designated
assistant professor, associate professor or professor, are ineligible to be awarded tenure.
Academic administrators not appointed to a teaching or research unit may be awarded academic
rank in addition to their administrative titles, with the concurrence of the faculty and
administrative officer of the academic unit in which such rank could lead to tenure, in which case
they may acquire tenure as faculty, but not as administrators. Other administrators and staff
whose primary duties do not involve teaching regularly scheduled credit-hour courses, but who
occasionally teach courses are not eligible for tenure and do not acquire credit for service toward
tenure for such teaching activities.
3.     Tenure rights apply to the area or areas of the faculty member's expertise and in the
academic unit(s) in which his or her position is budgeted (examples: Department of English,
UAF, not College of Arts and Sciences; School of Law, UALR; Library, UAM; Departments of
Music and Education, UAPB). Tenure rights are confined· to a particular campus and are not
applicable on another campus of the University of Arkansas.
4.     The probationary period may not extend beyond seven years, except as specifically
provided herein. An initial appointment of one-half year (academic or fiscal) or less will not be
included in the probationary period. If more than one-half of any year is spent in leave of
absence without pay status, that year shall not apply toward the probationary period.
During the first six years of the probationary period, a tenure-track faculty member may request,
for reasons set forth below, that the probationary period be suspended by one (1) year. The
reasons for such a request are the same as required under the Family and Medical Leave Act of
1993 and are as follows: (a) the birth of a child to the faculty member or his spouse and its care
during the first year; (b) the adoption of a child by the faculty member or placement in the
faculty member's home of a foster child; (c) the care of the faculty member's spouse, child, or
parent with a serious health condition; (d) the serious health condition of the faculty member.
A request to suspend the probationary period for these reasons shall first be directed in writing to
the department chair for approval and must also be approved by the dean ( or approved through
other established administrative channels), the vice chancellor for academic affairs, the
chancellor, and the president, under such procedures as the president shall approve. These
procedures may include, but shall not be limited to, the manner in which the faculty member's
duties and salary, if any, are determined during such year, the information which is required to




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substantiate a request and the extent to which a faculty member's performance during such year
may be considered in awarding tenure. A faculty member who has been notified that he or she
will not be reappointed may not subsequently request to suspend the probationary period under
this policy.
Upon the recommendation of the department chair, after consultation with the departmental
faculty and with concurrence of the dean, the vice chancellor for academic affairs, and the
chancellor, new appointees at the rank of associate professor, professor, distinguished professor,
or university professor may be granted immediate tenure.
5.      Recommendations for tenure shall originate with the chairpersons, who shall inform the
faculty members in tenure-track positions who are being considered for tenure and shall give
them the opportunity to submit material which they believe will facilitate consideration of their
accomplishments and potential.
6.       Criteria and procedures concerning the awarding of tenure on a campus, including an
appeals procedure for those desiring reconsideration of a negative recommendation, shall be
adopted by the faculty of that campus through its governance structure; the deans and chief
academic officer of the campus shall have an opportunity to give their advice regarding these
criteria and procedures; these criteria and procedures must be submitted to the Chancellor of the
campus and the President for approval. More detail ed criteria and procedures may be adopted
by the faculty and chairperson of each academic unit; these criteria and procedures must be
submitted to the dean, the chief academic officer of the campus, the Chancellor of the campus,
and the President for approval.
7.     The President will not consider awarding tenure to a faculty member in a probationary
status without the prior recommendation of the faculty member's departmental faculty,
chairperson, dean, chief academic officer, and the chief executive officer of the campus
concerned.
&.     A faculty or staff member, on acquiring tenure rights, shall receive a notice from the
chief executive officer of the campus affirming the acquisition of such rights. No person shall
lose tenure rights by acceptance of leave-of-absence or by appointment to a University of
Arkansas administrative position.
9.     Tenure becomes effective at the beginning of the nine-or twelve-month appointment
period following the President's action granting tenure (July I for twelve-month appointments,
and the beginning of fall semester for nine-month appointments) .
10.    Each year at the meeting at which promotions are considered by the Board of Trustees,
the President shall inform the Board of the names of each person awarded tenure during the
preceding twelve months, and shall indicate for each such individual the rank and date of
appointment to the University faculty.
11.     An individual in a tenure-track position who was not awarded tenure with any of the first
six academic year or fiscal year appointments must be evaluated as specified in Section IV.A.6.
during the sixth appointment. If he or she is not approved for tenure, the seventh appointment
shall be a terminal appointment.
12.    A faculty or staff member holding tenure rights may be dismissed for cause only after the
procedures prescribed in Section V.C. have been followed. A tenured person notified that he or
she will be so dismissed will, except in cases of moral turpitude, be given notice of dismissal



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twelve months prior to termination of employment. This provision does not create an award of
severance pay, but assumes the full performance of University responsibilities and duties
assigned for the period between dismissal notice and final termination.
13.     No faculty member shall be dismissed or denied reappointment in violation of the
following principles of academic freedom, but the observation of the limitations stated herein is
th e responsibility of each faculty or staff member. Mere expressions of opinions, however
vehemently expressed and however controversial such opinions may be, shall not constitute
cause for dismissal. The threat of dismissal will not be used to restrain faculty members in their
exercise of academic freedom or constitutional rights .
        a.      The faculty member is entitled to full freedom in research and in the publication
of results, subject to the performance of his or her other academic duties, but personal research
for pecuniary return requires prior approval by the appropriate University authorities and must be
in accordance with Board Policy
        b.       The faculty member is entitled to freedom in the classroom in discussing the
subject of the course, but should not teach material inappropriate or unrelated to the course.
        c. The University faculty member is a citizen, a member of a learned profession, and a
member of an educational community. Speaking or writing as a citizen, the faculty member is
free from institutional censorship or discipline. However, as a person of learning and as a
member of an educational community, the faculty member has a responsibility for awareness that
the public may judge the profession and the institution by his or her utterances. Hence, faculty
should at all times make an effort to be accurate, exercise good judgment and appropriate
restraint, show respect for the opinions of others, and indicate that they are not spokespersons for
the institution.
B. Non-Reappointment
These procedures apply to non-tenured faculty members who are in tenure-track pos1t1ons
(assistant professors, associate professors, professors, distinguished professors, and University
professors) who are not offered a next successive appointment for the period following the
expiration of a current appointment. These procedures do not apply to faculty in clinical
attending positions at the University of Arkansas for Medical Sciences bearing the designation of
assistant professor, associate professor or professor.
The appointment of a n9n-tenured faculty member may be terminated effective at the end of the
appointment period, at the option of either the individual or the University.
A chairperson, dean, or chief academic officer who decides not to recommend a nontenured
faculty member for reappointment shall notify him or her in writing in accordance with the
following schedule and shall enclose a copy of this section with the letter of non-reappointment:
       Not later than March 1 of the first year of service, if the appointment expires at the end of
       that year; or at least three months in advance of its termination if the appointment
       terminates during the first calendar year of continuous employment.
       Not later than December 15 of the second year of service, if the appointment expires at
       the end of that year; or at least six months in advance of its termination if an appointment
       terminates during the second calendar year of continuous employment.
       At least twelve months before the expiration of the terminal appointment after two or



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       more consecutive academic, fiscal , or calendar years in the institution. The terminal
       appointment will be for the academic or fiscal year, according to the appointment last
       held by the individual.
The individual, upon being notified that he or she will not be reappointed, may request an
interview within ten working days after receipt of the notice, first with the dean of the school or
college, or other appropriate administrators, then, if the employee requests it, within an
additional five working days, with the chief academic officer of the campus. The dean of the
school or college, or other administrator, and the chief academic officer jointly will, within ten
working days, make the final decision on any request that the decision be reconsidered.
Department chairpersons and other employees of that campus may be requested to participate in
their individual capacities in the interviews by the individual concerned, by the chief academic
officer, or by the dean or other appropriate administrator.
If the individual does not request these interviews within the time limits stated above after
receipt of notification of non-reappointment, the matter shall be considered closed.
C. Dismissal
This section applies to all faculty members.
     I. Preliminary Proceedings
When a chairperson or dean has reason to consider a decision to dismiss a person who has tenure
rights or an untenured faculty member prior to the expiration of an appointment, he or she shall
discuss the matter with that person privately. After the discussion, if the decision of the
chairperson or dean is to recommend dismissal, he or she shall prepare a statement of the
grounds constituting the cause for dismissal and forward it through the chief academic officer to
the chief executive officer on the campus, with a copy to the faculty member. If the faculty
member requests it within five working days after receipt of the statement, a subcommittee of
faculty members, as determined by procedures developed by each campus, shall be named by the
chief executive officer to make an informal inquiry into the situation and to effect an adjustment,
if possible. If no settlement is effected, the subcommittee shall determine whether, in its view,
formal proceedings shall be instituted to consider the individual's dismissal, and it shall notify
the individual concerned, the chief execµtive officer of the campus, and other appropriate
administrators of its conclusion. If the subcommittee recommends that such proceedings be
begun, or if the chief executive officer of the campus, after considering a recommendation of the
subcommittee favorable to the individual, decides that a proceeding should be undertaken, action
shall be commenced according to the procedures which follow.
     2. Hearing Procedures
The formal proceedings shall be initiated by a communication addressed to the individual by the
chief executive officer of the campus informing him or her of the dismissal and the grounds for
it, and that, if he or she so requests, a hearing to recommend whether his or her employment by
the University shall be terminated on the grounds stated, will be conducted at a specified time
and place by a faculty committee constituted as described in Section 4 below. Sufficient time
shall be allowed to permit the individual to prepare a defense. The individual shall be informed
in detail, or by reference to published regulations, of the procedural rights to which he or she is
entitled, including the right to advice of counsel.




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The individual shall indicate whether he or she wishes a hearing and, if so, shall file with the
chief executive officer of the campus within two weeks of the date of the mailing of the
communication by the chief executive officer of the campus an answer to the statement of
grounds for the proposed dismissal.
If the individual does not request a hearing, no further action shall be taken. Further, at the
requ est of th e individual the proceedings provided fo r herein may be terminated at any time after
the request for a hearing on written notice to the chief executive officer of the employee's
acquiescence in the dismissal. Similarly, the administration may drop dismissal proceedings at
any stage.
     3. Suspension
Suspension of the individual from normal duties or reassignment to other duties during the
proceedings will occur only if an emergency exists which threatens harm to the individual, to
others, or to the University. Determination of an emergency shall be made by the chief executive
officer, in consultation with the President. Such suspension shall be with pay.
     4. Hearing Committee
T he faculty of each campus shall establish a systematically rotated panel of faculty from which
hearing committees can be drawn. To hear a particular case a committee, selected from the panel
in accordance with campus policies, shall be composed of faculty members of departments not
involved in the dismissal.
Upon receipt from the chief executive officer of the campus of a copy of the statement of
grounds for dismissal, accompanied by the individual's answer thereto, the chairperson of the
hearing committee shall conduct hearings and recommend a course of action as provided m
Section IV.C.5.
     5. Committee Proceedings
The committee shall proceed by considering, before the time of the hearing, the statement of
grounds for dismissal already formulated and the individual's written response.
In addition to the members of the committee, only the person requesting the hearing and his or
her representative, the chief executive officer of the campus and/or his or her designee, and
witnesses called by the committee are permitted to attend the hearing.
Charges contained in the initially formulated statement of grounds for dismissal may be
supplemented at the hearing by evidence of new events occurring after the initial communication
to the individual which constitute new or additional cause for dismissal. If such supplementary
charges are adduced, the committee shall provide the individual with sufficient time to prepare
his or her defense.
The chief executive officer of the campus shall have the option to attend or not to attend the
hearing, and he or she may designate an appropriate representative to assist in developing and
presenting the case.
The committee shall determine the order of proof and shall supervise the questioning of
witnesses.
The individual shall have the aid of the committee when needed in securing the attendance of
witnesses. The individual or his or her representative and the chief executive officer of the



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campus or his or her designated representative shall have the right within reasonable limits to
question all witnesses who testify orally.
The committee will use its best efforts to provide an opportunity for those involved to confront
all witnesses, but where this cannot be achieved despite the efforts of the hearing committee, the
identity of such non-appearing witnesses, and any written evidence they may have furnished ,
shall be discl osed to all interested parties during the hearing.
Subject to these safeguards, written statements may, when necessary, be taken outside the
hearing and reported to it. All of the evidence shall be duly recorded. Formal rules of court
procedure need not be followed , but the committee shall exercise reasonable efforts to protect the
rights of the parties in the reception of evidence.
       6. Consideration by Hearing Committee
The committee shall formulate its recommendation in private, on the basis of the hearing. Before
doing so, it shall give opportunity to the individual and the chief executive officer of the campus
or his or her designated representative to make oral statements before it. If written arguments are
desired, the committee may request them. The committee shall proceed to arrive at its
recommendation promptly without having the record of the hearing transcribed when it feels that
a just decision can be reached by this means; or it may await the availability of a transcript of the
hearing. It shall make explicit findings with respect to each of the grounds for removal presented.
The chief executive officer of the campus and the individual shall be notified of the
recommendation in writing and a copy of the record of the hearing shall be available to both
parties.
A copy of the record of the hearing and the recommendations of the hearing committee shall be
furnished to the President of the University for his or her decision. The decision of the
President shall be transmitted to the chief executive officer of the campus and to the individual
involved.
       7. Consideration by Board of Trustees
If the decision of the President is appealed to the Board of Trustees, or if the Board of Trustees
chooses to review the case, the President shall transmit to the Board of Trustees the full report of
the hearing committee, stating its recommendation and his or her own decision. The review shall
be based on the record of the previous hearing, accompanied by opportunity for argument, oral
or written or both, by the principals at the hearing or by their representatives. The decision of the
Board of Trustees on review shall be final. It shall be communicated to the President and through
him or her to the person involved.
V. Annual Review
An annual review of the work and status of each tenured and tenure-track faculty member shall
be made on the basis of assigned duties and according to criteria and procedures required herein.
Faculty not in tenure-track positions shall be evaluated by procedures adopted by each campus.
A.   Faculty
The annual review of each faculty member shall provide the primary basis for the chairperson's
recommendations relating to salary, promotion, granting of tenure, successive appointment,
non-reappointment, and dismissal. Furthermore, this review is to provide guidance and




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     assistance to all faculty in their professional development and academic responsibilities in the
     areas of teaching, scholarly and creative activity, and service.
     Criteria and procedures for an annual review of all tenured and tenure-track faculty on a campus
     shall be adopted by the faculty of that campus through its governance structure; the deans and
     chief academic officer of the campus shall have an opportunity to give their advice regarding
     these criteria and procedures; these criteria and procedures must be submitted to the Chancellor
     of the campus and the President for approval. More detailed criteria and procedures may be
     recommended by the faculty and chairperson of each academic unit; these criteria and
     procedures must be submitted to the dean, the chief academic officer of the campus, the
     Chancellor of the campus, and the President for approval. All procedures for annual reviews
     adopted by a ca1;1pus shall include provision for and details for implementation of the following:
     1.       Within a reasonable time after the beginning of the first appointment of each faculty
     member: written notification to the faculty member of the criteria, procedures, and instruments
     currently in use in assessing performance;
     2.       Within a reasonable time after the beginning of each academic year: written notification
     to each faculty member of that year's assignments, review schedule, and the criteria, procedures,
     and instruments to be used that year;
     3.      Reasonable opportunity for each faculty member to submit any material desired to be
     considered in the annual review;
     4.      Peer evaluation;
     5.      Student evaluation of teaching;
     6.     Prior to the chairperson's making a recommendation in any year: (a) a meeting between
     the chairperson and faculty member to discuss all issues relating to the review, (b) the providing
     to that faculty member a copy of the chairperson's tentative recommendation(s), and (c)
     reasonable opportunity for the faculty member to submit a written response to be forwarded to
     each subsequent level of review;
     7.       As long as a faculty member is employed by the University and for at least three years
     thereafter: maintenance of annual review forms, summaries of annual discussions between the
     chairperson and faculty member, recommendations, and all other writings used in or resulting
     from the annual reviews of that faculty member;
     8.      Availability to each faculty member of all writings used in or resulting from the annual
     reviews of that faculty member.
     Each year the chief academic officer of each campus shall (a) require of each chairperson an
     assessment of the performance of all faculty members in the academic unit, including an
     identification of all faculty development needs and of all problems in performance of faculty, (b)
     take steps designed to insure compliance on that campus with all criteria and procedures for
     annual reviews, and (c) provide the Chancellor with a written report indicating the extent of
     compliance during the past year, as well as any needs and problems identified and solutions
     planned.
     NOTE:        A University-wide committee has been established for the purpose of recommending
                  criteria and procedures for an annual review of all administrative officers of the
                  University. A report from this committee will be presented to the Board of Trustees



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   at a fall 1989 meeting for appropriate action of the Board.
  The annual review of each administrative officer shall serve as the basis for
  decisions relating to salary and continuation as an administrator. Furthermore, this
  review is to provide guidance and assistance to all administrative officers in their
  professional development.




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BOARD POLICY 405.1

APPOINTMENTS. PROMOTION, TENURE, NON-REAPPOINTMENT, AND DISMISSAL OF
FACULTY 1
This policy supersedes all existing policies concerning appointments, promotion, tenure, non- reappointment,
and dismissal of faculty. The Board of Trustees has the right to amend any portion of this policy at any time
in the future.

This policy shall be included without change or inter-lineation in the Faculty Handbook for each campus.

To the extent any provision in this policy conflicts with a campus policy, this policy shall control.

I.     Definition of Terms

       For purposes of this policy, the following definitions shall apply:

       Appointment - An appointment is a written notice ("Notice of Appointment") that initiates the
       employment relationship between the Board of Trustees and the faculty member. An appointment is
       valid only when approved and signed by the President of the University, the Chancellor of the
       respective campus, the Vice President for Agriculture, the Chief Executive Officer of the respective
       unit, or their designee, in accordance with authority delegated by the Board of Trustees. Such
       appointment is subject to all applicable policies of the Board of Trustees, the University of
       Arkansas System, and the respective campus, division or unit.

       Cause - Cause is defined as conduct that demonstrates the faculty member lacks the willingness or
       ability to perform duties or responsibilities to the University, or that otherwise serves as a basis for
       disciplinary action. Pursuant to procedures set out herein or in other University or campus policies,
       a faculty member may be disciplined or dismissed for cause on grounds including, but not limited
       to, ( 1) unsatisfactory performance, consistent with the requirements of section V .A.9 below,
       concerning annual reviews;2 (2) professional dishonesty or plagiarism; (3) discrimination, including

         In most cases, academic units are organized into colleges and departments with deans,
chairpersons, and faculty. The normal order is for appointment, promotion and tenure processes to utilize
this structure in making recommendations. Where colleges or departments are not present, the normal order
shall follow a pattern that closely mirrors the typical structure. For example, in schools without departments,
the recommendations shall start with the faculty and move to the director, if applicable, and then to the dean.
For the purpose of this policy, and in reference to items involving professional librarians, instructional
development specialists, or museum curators, the terms "chairperson," "administrative officer," and
"administrator" refer to the director or head librarian. Throughout this policy, any reference to "chairperson"
includes any equivalent position.

2       Each campus shall include criteria and procedures for determining "Unsatisfactory
performance" in their campus policies governing faculty annual reviews. In order for a tenured
faculty member to be dismissed for unsatisfactory performance, the requirements set out in
V.A.9 as well as any corresponding campus policy must first be followed.




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       harassment or retaliation, prohibited by law or university policy; (4) unethical conduct related to
       fitness to engage in teaching, research, service/outreach and/or administration, or otherwise related
       to the faculty member's employment or public employment; (5) misuse of appointment or authority
       to exploit others; (6) theft or intentional misuse of property; (7) incompetence or a mental
       incapacity that prevents a faculty member from fulfilling his or her job responsibilities; (8) job
       abandonment; (9) a pattern of conduct that is detrimental to the productive and efficient operation
       of the instructional or work environment3; (10) refusal to perform reasonable duties; (11) threats or
       acts of violence or retaliatory conduct; or (12) violation of University policy, or state or federal
       law, substantially related to performance of faculty responsibilities or fitness to serve the
       University. Nothing in this provision is intended to inhibit expression that is protected under
       principles of academic freedom, or state or federal law.

       Dismissal - Dismissal is severance from employment for cause after administrative due process as
       provided in this policy and Board of Trustees Policy 405.4. Termination by notice, expiration of
       appointment, or non-reappointment, or due to job abandonment, is not a dismissal.

       Faculty - Faculty are employees who hold academic rank of lecturer, master lecturer, instructor,
       advanced instructor, senior instructor, assistant professor, associate professor, professor, University
       professor, distinguished professor or one of the above titles modified by clinical, research, teaching,
       adjunct, visiting, executive in residence, professor of practice, (e.g., clinical professor or adjunct
       assistant professor). Additional appropriate non-tenure track modifiers may be approved by the
       President. For the purposes of tenure and promotion policy and recommendations, a campus may
       define which faculty may participate in tenure and promotion related decisions. For example,
       institutions that offer tenure could limit for tenure and promotion matters the definition of faculty to
       tenured and tenured track faculty.

       Individuals holding certain non-teaching titles (i.e. Director of Libraries, Instructional Development
       Specialist II, and Curator) also receive faculty rank. The rank that corresponds with each title is
       reflected in the chart below. Both the title and the academic rank will be stated in the appointment.




3      This need not be a separate component in the evaluation criteria of faculty, but may be considered in
evaluating faculty in the areas of teaching, research and service. Subject to Section V, the criteria and
procedures for annual reviews shall be developed and adopted by each campus.




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                                                                                            '"
          Instructional and                         1890          Instructional
          Research Ranks        .    Library      Extension      Development       Museum
                                                  Service*
          Professor,                Director of Extension        Instructional    Curator
          University                Libraries,  Specialist IV    Development
          Professor,                Librarian                    Specialist II
          Distinguished
          Professor
          Associate Professor       Associate   Extension      Instructional      Associate
                                    Librarian   Specialist III Development        Curator
                                                               Specialist I
          Assistant Professor       Assistant    Extension                        Assistant
                                    Librarian    Specialist II                    Curator
          Instructor                             Extension
                                                 Specialist I


              *Academic rank will be granted only if the individual is appointed in an academic unit.

Non-Reappointment - Non-reappointment means that a non-tenured, tenure-track faculty member is not
offered a next successive appointment for employment at the end of a stated appointment period. It is
effected by a written notice sent in compliance with the time limits hereafter specified (IV.B.). This
provision and the time limits specified in IV. B. do not apply to the non-renewal of an appointment of
a non-tenure-track faculty member.

Probationary Period - The probationary period is the time a faculty member spends under
appointments for full-time services in a tenure-track position on one campus of the University of
Arkansas prior to being awarded tenure.

Promotion - Promotion is advancement based on merit to a higher rank or title. All promotions must
be approved by the Board of Trustees and become effective with the next year's appointment
following action of the Board of Trustees, unless a different effective date is approved by the Board.

Resignation - Resignation is voluntary termination of employment by an employee. The dean or
director of the unit to which the employee is assigned is authorized by the Board of Trustees to accept
the resignation.

Suspension - Suspension is temporarily relieving an employee of duties. A disciplinary suspension or
suspension pending an investigation does not alter the nature of an individual's appointment.
Suspension may be with or without pay as warranted by the circumstances. If a faculty member is
suspended as a disciplinary measure, the faculty member may grieve or appeal the suspension in
accordance with the policies of the campus, division or unit.




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       Tenure - Tenure is the right of continuous appointment, awarded by the President to eligible members
       of the faculty upon successful completion by each of a probationary period. Once granted, tenure
       ceases to exist only by (1) dismissal for cause, as defined in section 1 and according to the procedures
       set forth in Section IV.C., (2) demonstrably bona fide financial exigency, (3) reduction or elimination
       of programs, (4) retirement, (5) resignation, or (6) job abandonment. The probationary period may be
       waived as provided in Section IV.A.4. Salaries for tenured faculty may be adjusted for disciplinary
       reasons, or based on material changes in job duties or funding sources.4 NOTE: Tenured faculty
       holding positions eliminated by reduction or elimination of programs will be relocated in other
       academic units of the campus for which they are qualified whenever possible. A position occupied by
       a tenured faculty member that was eliminated as a result of reduction or elimination of a program may
       not be reactivated for a period of five academic years.

       Tenure-Track and Non-Tenure-Track Positions - Tenure-track positions are ranks of assistant
       professor, associate professor, professor, University professor, and distinguished professor. Faculty
       appointed to clinical attending positions at the University of Arkansas for Medical Sciences, faculty
       positions designated as clinical positions 5 at other campuses, or other non-tenure-track positions
       approved by the President, may bear the designation of assistant professor, associate professor,
       professor, University professor or distinguished professor6 but in no event shall be considered
       tenure-track positions and shall acquire no tenure rights by virtue of occupying such positions. Such
       non-tenure- track positions shall be set forth in applicable promotion and tenure policies approved
       by the President, following review by the Office of General Counsel; such policies may authorize
       term appointments beyond one year, but not to exceed five years, under merit- based campus
       procedures approved by the President. Salaries for non-tenured faculty may be adjusted for
       disciplinary reasons, or based on material changes in job duties or funding sources. 7

       Terminal Appointment - A terminal appointment is a final appointment, the expiration of which results
       in termination of an individual's employment.

       Termination - Termination is the general term to describe severance of employment from the
       University. Termination may be by resignation, retirement, dismissal, written notice, non-
       reappointment, expiration of appointment, or job abandonment.

       Year - Year will be either a fiscal year (July 1 through June 30 next) or an academic year (fall and

4       Subject to all University policies, any salary reduction for tenured faculty must be preceded by
notice and an opportunity to appeal the proposed reduction to the chief academic officer of the campus,
division or unit.
5       When a faculty member who holds a tenure-track position teaches in a clinical setting, the faculty
member is not holding a "clinical position" for purposes of this provision.
6       Solely at those institutions that do not offer tenure, the rank of University or distinguished professor
may be awarded to non-tenured faculty who otherwise meet the qualifications for the rank as set out in
Board Policy 470.1.
7       Subject to all University policies, any salary reduction for tenure-track faculty or faculty with merit-
based term appointments must be preceded by notice and an opportunity to appeal the proposed reduction
to the chief academic officer of the campus, division or unit.




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      spring semesters of the same fiscal year), unless otherwise designated.

II.   Appointments .

      A.     Faculty. The following principles shall apply to appointments to faculty positions:

             1.        General

             Appointments shall not exceed one academic or fiscal year except in the following limited
             circumstances: (1) term appointments beyond one year for non-tenure track faculty under
             merit-based procedures specifically established for that purpose as permitted in Section I
             (Tenure-Track and Non-Tenure Track Positions); or (2) appointments to faculty positions for
             summer school.

             Recommendations for appointments to the faculty will be made by the departmental
             chairperson or equivalent after consultation with the faculty concerned, and are subject to the
             approval of the dean, the chief academic officer, and the chief executive officer of the campus.
             (See definition of appointment, Section I.)

             Criteria and procedures for the initial appointment and successive appointment of all faculty
             members on a campus shall be adopted by each campus. As a general practice, the faculty,
             through its governance structure, will initiate the process, on its own or at the request of the
             Chancellor (or chief executive officer) of the campus. The deans and chief academic officer of
             the campus will then have an opportunity to give their advice regarding these criteria and
             procedures. Thereafter, these criteria and procedures must be submitted to the Chancellor ( or
             chief executive officer) of the campus and the President for approval. More detailed criteria
             and procedures may be adopted by the faculty and chairperson of each academic unit; these
             criteria and procedures must be submitted to the dean, the chief academic officer of the
             campus, the Chancellor (or chief executive officer) of the campus, and the President for
             approval. Campus and unit criteria and procedures must be consistent with and are subject to
             this and other applicable University policies.

             2.        Initial Appointment

             An appropriate degree or professional experience is an essential qualification for
             appointment to positions at academic ranks.

             Other important qualifications include experience in teaching, research, or other creative
             activity, and educational service at other colleges and universities or in non- academic settings.
             ,.,
             .) ,      Successive Appo intments

             Tenured faculty members have a right to a next successive appointment except for the reasons
             for termination of a tenured appointment given in Section I under definition of tenure. Salaries
             for tenured faculty may be adjusted for disciplinary reasons, or based on materials changes




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              in job duties or funding sources.8 Non-tenured faculty do not have a right to a next successive
              appointment, but may be offered an appointment after the expiration of a current appointment,
              provided that, in the case of tenure-track faculty, the appointment does not extend the time in
              probationary status beyond the limits set in Sections IV.A.4 and IV.A.12. In the event that a
              non-tenured, tenure-track faculty member is not recommended for reappointment, the
              procedure described in Section IV.B. shall be followed. Non-tenure-track faculty with a term
              appointment for a specified term of years do not have a right to an appointment beyond the
              appointment period .9

       B.     Administrative Appointments

               Consistent with longstanding policy and practice, appointments as dean are made by the chief
               executive officer or chief academic officer of the campus. Deans serve at the pleasure of the
               chief executive officer or chief academic officer. Appointments as department head or chair, or
               as director of an academic program or center, are made by the dean, in consultation with the
               chief executive officer or chief academic officer, and serve at the pleasure of the dean.
               Additional criteria or procedures relating to the making of such appointments may be adopted
               by the campus, but must be submitted to the dean, the chief academic officer of the campus,
               the Chancellor (or chief executive officer) of the campus, and the President for approval.
               Tenure may only be granted in faculty status and not in an administrative appointment.

III.   Promotion

       Promotion in academic rank shall be based primarily on the accomplishments of the individual while
       in the most recent rank. No minimum time in rank is required before a faculty member is eligible for
       promotion, nor is there a maximum time an individual may remain in a given rank except as limited
       by Sections IV.A.4. and IV.A.12. However, individual accomplishments and potential for continued
       value to the University are required for promotion. Effective July 1, 2018, no faculty member in a
       tenure-track position shall be promoted to the rank of associate professor or higher without also being
       granted tenure. (This does not preclude a faculty member from being hired into a tenure-track position
       with the rank of associate professor or full professor if they satisfy the applicable criteria.)

       Generally, recommendations for promotion shall originate with the chairperson, but may be initiated in
       accordance with departmental, unit, or campus rules, which have been submitted to the dean, chief
       academic officer, Chancellor (or chief executive officer) and President for approval. Faculty members
       who are being considered for promotion shall be given the opportunity to submit relevant material
       regarding their professional accomplishments, which they believe will facilitate consideration of
       their competence and performance. Each campus shall provide for the inclusion of peer 10 evaluation

8        Subject to all University policies, any salary reduction for t~nured faculty must be preceded by
notice and an opportunity to appeal the proposed reduction to the chief academic officer of the campus,
divi sion or unit.
9        Subject to all University policies, nothing in this provision precludes a non-tenure-track faculty
member, with a merit based, multi-year term appointment, from having a rolling appointment.
10       "Peer" shall be defined by each campus as part of its policies governing promotion and tenure or




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       in the consideration of faculty nominated for promotion.

       Criteria and procedures for promotion to each rank on a campus, including an appeals procedure for
       those desiring reconsideration of a negative recommendation, shall be adopted by each campus. As a
       general practice, the faculty, through its governance structure, will initiate the process of preparing such
       criteria and procedures, on its own or at the request of the Chancellor (or chief executive officer). The
       deans and chief academic officer of the campus will then have an opportunity to give their advice
       regarding the criteria and procedures. Thereafter, these criteria and procedures must be submitted to the
       Chancellor (or chief executive officer) of the campus and the President for approval. More detailed
       criteria and procedures may be adopted by the faculty and chairperson of each academic unit; these
       criteria and procedures must be submitted to the dean, the chief academic officer of the campus, the
       Chancellor (or chief executive officer) of the campus, and the Presidentfor approval. Campus and unit
       criteria and procedures must be consistent with and are subject to this and other applicable
       University policies.

       In addition to any criteria established by the campus concerning research, teaching and service, all
       candidates for promotion and tenure are expected to be in substantial compliance with applicable
       University policies and legal requirements.

IV.    Tenure, Non-reappointment, and Dismissal

       A.      Tenure

               1.       The granting of tenure implies that the individual has completed successfully his or her
                        probationary period and has become a permanent member of the University
                        community. As such, he or she acquires additional procedural rights in the event that
                        dismissal proceedings may be brought against him or her.

               2.       Only full-time faculty with ranks of associate professor, professor, University
                        professor, and distinguished professor are eligible to be awarded tenure. An assistant
                        professor is eligible to seek tenure accompanied by a concurrent promotion to
                        associate professor. Faculty and other employees with the following titles are ineligible
                        to be awarded tenure: clinical, research, teaching, adjunct, visiting, professor of practice
                        or executive in residence faculty, research associates or research assistants, graduate
                        associates or graduate assistants, instructors, advanced instructors, senior instructors,
                        lecturers, and master lecturers. Faculty appointed to clinical attending positions at the
                        University of Arkansas for Medical Sciences, other faculty positions designated as
                        clinical positions, or other non- tenure track positions approved by the President,
                        although designated assistant professor, associate professor or professor, are ineligible
                        to be awarded tenure. Academic administrators not appointed to a teaching or research
                        unit may be awarded academic rank in addition to their administrative titles, with the
                        concurrence of the faculty and administrative officer of the academic unit in which
                        such rank could lead to tenure, in which case they may acquire tenure as faculty, but

faculty annual reviews.




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      not as administrators. Other administrators and staff whose primary duties do not
      involve teaching regularly scheduled credit-hour courses, but who occasionally teach
      courses, are not eligible for tenure and do not acquire credit for service toward tenure
      for such teaching activities.

3.    Tenure rights apply to the area or areas of the faculty member's expertise and in the
      academic unit(s) in which his or her position is budgeted (examples: Department of
      English (not College of Arts and Sciences), UAF; School of Law, UALR; Library,
      UAM; Departments of Music and Education, UAPB). Tenure rights are confined to a
      particular campus and are not applicable on another campus of the University of
      Arkansas. Tenure and tenure rights are not awarded in a named or endowed chair or
      professorship or in any administrative appointment.

4.    The probationary period may not extend beyond seven years, except as specifically
      provided herein, or as otherwise required by law. An initial appointment of one-half
      year (academic or fiscal) or less will not be included in the probationary period. If more
      than one-half of any year is spent in approved leave of absence without pay status, that
      year shall not apply toward the probationary period.

      During the first six years of the probationary period, a tenure-track faculty member
      may request, for reasons set forth below, that the probationary period be suspended by
      one (1) year. The reasons for such a request will generally be the same as required
      under the Family and Medical Leave Act (FMLA), as amended, and are as follows: (a)
      the birth of a child to the faculty member or spouse and the child's care during the first
      year; (b) the adoption of a child by the faculty member or placement in the faculty
      member's home of a foster child within the first year of placement; (c) the care of the
      faculty member's spouse, child, or parent with a serious health condition; (d) the serious
      health condition of the faculty member that makes the faculty member unable to
      perform the functions of his or her job; (e) a qualifying exigency arising from the
      military deployment of an employee's spouse, son, daughter, or parent to a foreign
      country; (f) to care for a covered service member with a serious injury or illness if
      the employee is the spouse, son, daughter, parent, or next of kin of the service
      member.

      On the rare occasion that an additional one-year extension is requested, such
      requests will be considered on a case-by-case basis. However, the faculty member
      will receive any leave to which he or she is entitled under the FMLA.

      A request to suspend the probationary period for these reasons must be made at the
      time of the qualifying event and shall first be directed in writing to the department
      chair for approval and must also be approved by the dean (or approved through other
      established administrative channels), the vice chancellor for academic affairs, the
      Chancellor (or chief executive officer) of the campus, and the president, under such
      procedures as the president shall approve. These procedures may include, but shall not
      be limited to, the manner in which the faculty member's duties and salary, if any, are




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                   detennined during such year, the infonnation.which is required to substantiate a request
                   and the extent to which a faculty member's performance during such year may be
                   considered in awarding tenure. A faculty member who has been notified that he or she
                   will not be reappointed may not subsequently request to suspend the probationary
                   period under this policy.

            5.     Upon the recommendation of the department chair 11 , after consultation with the
                   departmental faculty and with concurrence of the dean, the vice chancellor for
                   academic affairs, and the Chancellor (or the chief executive officer), new appointees at
                   the rank of associate professor, professor, University professor, or distinguished
                   professor, who possess the requisite qualifications, may be granted immediate tenure.
                   Immediate faculty tenure may also be granted, under this same procedure, in
                   connection with the hiring of senior leadership positions.

            6.     Generally, recommendations for tenure shall originate with the chairpersons, but may
                   be initiated as provided for in departmental, unit or campus rules, which have been
                   submitted to the dean, chief academic officer, Chancellor ( or chief executive officer)
                   and President for approval. Faculty members who are in tenure-track positions who are
                   being considered for tenure shall be given the opportunity to submit relevant material
                   documenting his or her professional performance which they believe will facilitate
                   consideration of their accomplishments and potential.

            7.     Criteria and procedures concerning the awarding of tenure on a campus, including an
                   appeals procedure for those desiring reconsideration of a negative recommendation,
                   shall be adopted by each campus. As a general practice, the faculty, through its
                   governance structure, will initiate the process of preparing such criteria and procedures,
                   on its own or at the request of the Chancellor (or chief executive officer) of the
                   campus. The deans and chief academic officer of the campus will then have an
                   opportunity to give their advice regarding these criteria and procedures. Thereafter,
                   these criteria and procedures must be submitted to the Chancellor or chief executive
                   officer of the campus and the President for approval. More detailed criteria and
                   procedures may be adopted by the faculty and chairperson of each academic unit; these
                   criteria and procedures must be submitted to the dean, the chief academic officer of the
                   campus, the Chancellor (or chief executive officer) of the campus, and the President for
                   approval. Campus and unit criteria and procedures must be consistent with and are
                   subject to this and other applicable University policies.

            8.     The President will not consider awarding tenure to a faculty member in a probationary
                   status without obtaining the prior recommendation of the faculty member's
                   departmental faculty, chairperson, dean, chief academic officer, and the Chancellor (or
                   chief executive officer) of the campus concerned ..

            9.     A faculty member, on attaining tenure, shall receive a notice from the chief executive

11
     In Schools without departments and department chairs, refer to footnote 1.




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        officer of the campus affirming the acquisition of such rights. No person shall lose
        tenure rights by acceptance of leave-of-absence approved pursuant to University
        policy, or by appointment to a University of Arkansas administrative position.

 10.    Tenure becomes effective at the beginning of the nine- or twelve-month appointment
        period following the President's action granting tenure (July I for twelve-month
        appointments, and the beginning of fall semester for nine-month appointments).

 11 .   Each year at the meeting at which promotions are considered by the Board of Trustees,
        the President shall inform the Board of the names of each person awarded tenure during
        the preceding twelve months, and shall indicate for each such individual the
        recommended rank for promotion and the faculty member's academic discipline.

 12.    Subject to any extension of the probationary period under IV.A.4, an individual in a
        tenure-track position who was not awarded tenure with any of the first six academic
        year or fiscal year appointments must be evaluated as specified in Section IV.A.6 and 7
        during the sixth appointment. If he or she is not approved for tenure, the seventh
        appointment shall be a terminal appointment and the individual may not be considered
        for tenure during the seventh appointment.

 13.    A faculty member holding tenure rights may be dismissed for cause only after the
        procedures prescribed in Section IV.C. have been followed. Provided the
        requirements set out in V.B .9 as well as any corresponding campus policy have been
        satisfied, a tenured person notified of dismissal for reasons of unsatisfactory
        performance will be given notice of dismissal twelve months prior to termination of
        employment. Dismissal on other grounds may be immediate (if the dismissal is not
        contested by the faculty member) or upon the conclusion of any procedures prescribed
        in Section IV .C. This provision does not create an award of severance pay, but assumes
        the full performance of University responsibilities and duties assigned for the period
        between dismissal notice and final termination. Termination of a faculty member's
        employment because the faculty member has abandoned his or her job duties, or
        because the faculty member has accepted another position, shall not constitute dismissal
        under this policy.

 14.    No faculty member shall be dismissed, or otherwise disciplined, or denied
        reappointment in violation of the following principles of academic freedom, but the
        observation of the limitations stated herein is the responsibility of each faculty or staff
        member. Subject to all provisions of this and other applicable University policies, mere
        expressions of opinions related to the faculty member's scholarship, the subject matter
        of their assigned teaching duties, and University employment-related service activities
        (e.g. committee assignments and campus governance activities), however vehemently
        expressed and however controversial such opinions may be, shall not constitute cause
        for dismissal. The threat of dismissal will not be used to restrain faculty members in
        their exercise of academic freedom ' or constitutional rights.




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             a.      The faculty member is entitled to full freedom in research and in the publication
                     of results, subject to the performance of his or her other academic duties, but
                     personal research for pecuniary return requires prior approval by the appropriate
                     University authorities and must be in accordance with Board Policy 450.1.

             b.      The faculty member is entitled to freedom in the classroom in discussing the
                     subject of the course, but should not teach material inappropriate or unrelated to
                     the course, and should maintain a respectful and professional academic learning
                     environment.

             c.      The University faculty member is a citizen, a member of a learned profession,
                     and a member of an educational community. Speaking or writing as a citizen,
                     the faculty member is free from institutional censorship or discipline. However,
                     as a person of learning and as a member of an educational community, the
                     faculty member has a responsibility for awareness that the public may judge the
                     profession and the institution by his or her utterances. Hence, faculty should at
                     all times make an effort to be accurate, exercise good judgment and appropriate
                     restraint, show respect for the opinions of others, and indicate that they are not
                     spokespersons for the institution. Faculty are expected to contribute to the
                     productive and efficient operation of the instructional and work environment.

B.    Non-Reappointment

      These procedures apply to non-tenured faculty members who are in tenure-track positions who
      are not offered a next successive appointment for the period following the expiration of a
      current appointment. These procedures do not apply to faculty in clinical attending positions at
      the University of Arkansas for Medical Sciences bearing the designation of assistant professor,
      associate professor or professor, other clinical faculty, or other non-tenure-track faculty.

      The appointment of a non-tenured, tenure-track faculty member may be terminated effective at
      the end of the appointment period, at the option of either the individual or the University.

      A chairperson, dean, or chief academic officer who decides not to recommend a non- tenured,
      tenure-track faculty member for reappointment shall notify him or her in writing in accordance
      with the following schedule and shall enclose a copy of this section with the letter of non-
      reappointment:

             For the first year of service, not later than March 1, if the appointment expires at the
             end of that academic year; or at least three months in advance of its termination if the
             appointment expires at some other time during the year.

             For the second year of service, not later than December 15, if the appointment
             expires at the end of that academic year; or at least six months in advance of its
             termination if an appointment expires at some other time during the year.




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                      After the second year of service, at least twelve months before the expiration of the
                      terminal appointment. The terminal appointment will be for the academic or fiscal
                      year, according to the appointment last held by the individual.

              The individual, upon being notified that he or she will not be reappointed, may request, within
              ten working days after receipt of the notice, a meeting with the dean of the school or college,
              or other appropriate administrators. The meeting shall be held within five working days or as
              soon as practical thereafter. Following the meeting with the dean, if the dean reaffirms the
              recommendation of non-reappointment, within five working days the employee may request a
              meeting with the chief academic officer of the campus. 12 Within ten working days following
              the meeting with the chief academic officer, or as soon as possible thereafter, the chief
              academic officer will make the final decision on any request that the non-reappointment be
              reconsidered.

              In considering the matter, the dean and chief academic officer may consult with other
              University employees with relevant knowledge regarding the individual's performance. If the
              individual does not request these interviews within the time limits stated above after receipt of
              notification of non-reappointment, the matter shall be considered closed.

       C.     Dismissal

              This section applies to all tenure-track or tenured faculty members. Dismissal of non- tenure-
              track faculty and other personnel is addressed in Board of Trustees Policy 405.4.

              1.      Preliminary Proceedings

                      a.      Except in circumstances where there are personal safety concerns and consistent
                              with applicable law, when a chairperson or dean has reason to consider a
                              decision to dismiss a tenured or tenure-track faculty member prior to the
                              expiration of an appointment, the chairperson or dean shall first discuss the
                              matter with the faculty member privately. After the discussion, if the decision
                              of the chairperson or dean is to recommend dismissal, he or she shall prepare a
                              statement of the grounds constituting the cause for dismissal and forward it
                              through the chief academic officer 13 to the chief executive officer on the
                              campus, with a copy to the faculty member. If there are personal safety
                              concerns, the private meeting can be bypassed and the chairperson or dean can
                              proceed with providing the statement of grounds for dismissal through the chief
                              academic officer to the chief executive officer on campus, with a copy to the
                              faculty member. If the chief executive officer of the campus, after considering
                              the recommendation of the chairperson or dean, decides that a proceeding

12      For purposes of the Clinton School of Public Service, the employee may request a meeting with the
Vice President of Academic Affairs.
13      For purposes of the Clinton School of Public Service, the statement of grounds shall go directly to
chief executive officer of the campus, with a copy to the faculty member.




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             should be undertaken, action shall be commenced according to the procedures
             which follow.

      b.     If requested by either party, or if directed by the chief executive officer of the
             campus, prior to further steps in the process, the parties shall engage in informal
             discussions to determine whether an acceptable resolution of the matter is
             possible. Such discussions may include assistance of one or more faculty
             selected for this purpose.

 2.   Hearing Procedures

      The formal proceedings shall be initiated by a communication addressed to the
      individual by the chief executive officer of the campus informing him or her of the
      dismissal and the grounds for it, and that, if he or she so requests, a hearing to
      recommend whether his or her employment by the University shall be terminated on
      the grounds stated, will be conducted at a specified time and place by a faculty
      committee constituted as described in Section 4 below. Sufficient time shall be allowed
      to permit the individual to prepare a defense. The individual shall be informed in detail,
      or by reference to published regulations, of the procedural rights to which he or she is
      entitled, including the right to advice of counsel.

      The individual shall indicate whether he or she wishes a hearing and, if so, shall file
      with the chief executive officer of the campus within two weeks of the date of the
      mailing of the communication by the chief executive officer of the campus an answer
      to the statement of grounds for the proposed dismissal.

      If the individual does not request a hearing, no further action shall be taken. Further, at
      the request of the individual the proceedings provided for herein may be terminated at
      any time after the request for a hearing on written notice to the chief executive officer
      of the employee's acquiescence in the dismissal. Similarly, the administration may drop
      dismissal proceedings at any stage.

 3.   Suspension Pending Dismissal Proceedings

      Suspension of the individual from normal duties or reassignment to other duties during
      the proceedings will occur only if circumstances exist which threaten harm or
      substantial disruption to the individual, to others, or to the University. Such
      determination shall be made by the chief executive officer, in consultation with the
      President. Such suspension shall be with pay. This provision does not preclude
      disciplinary suspension without pay.

 4.   Hearing Committee

      The faculty of each campus shall establish a systematically rotated panel of faculty
      from which hearing committees can be drawn. To hear a particular case a committee,




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      selected from the panel in accordance with campus policies, shall be composed of
      faculty members of departments not involved in the dismissal.

      Upon receipt from the chief executive officer of the campus of a copy of the
      statement of grounds for dismissal, accompanied by the individual's answer thereto,
      the chairperson of the hearing committee shall conduct hearings and recommend a
      course of action as provided in Section IV.C.5.

 5.   Committee Proceedings

      The committee shall proceed by considering, before the time of the hearing, the
      statement of grounds for dismissal already formulated and the individual's written
      response.

      In addition to the members of the committee, only the person requesting the hearing
      and his or her representative, the chief executive officer of the campus or his or her
      designee, and a representative, and witnesses called by the committee are permitted to
      attend the hearing.

      Charges contained in the initially formulated statement of grounds for dismissal may be
      supplemented at the hearing by evidence of new events occurring after the initial
      communication to the individual which constitute new or additional cause for
      dismissal. If such supplementary grounds are adduced, the committee shall provide
      the individual with sufficient time to prepare his or her defense.

      The chief executive officer of the campus shall have the option to attend or not to
      attend the hearing, and he or she may select a designee to assist in developing and
      presenting the case. The chief executive officer or designee may be assisted by the
      representative in developing and presenting the case and in other matters related to the
      hearing.

      The committee shall determine the order of proof and shall supervise the questioning
      of witnesses. The committee may decline to accept unnecessarily duplicative
      material or unduly lengthy or repetitive testimony.

      The individual shall have the aid of the committee when needed in securing the
      attendance of witnesses. The individual or his or her representative and the chief
      executive officer of the campus (or designee) or his or her representative shall have the
      right within reasonable limits to question all witnesses who testify orally.

      The committee will use its best efforts to provide an opportunity for those involved to
      confront all witnesses, but where this cannot be achieved despite the efforts of the
      hearing committee, the identity of such non-appearing witnesses, and any written
      evidence they may have furnished , shall be disclosed to all interested parties during the
      hearing.




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      Subject to these safeguards, written statements may, when necessary, be taken outside
      the hearing and reported to it. All of the evidence shall be duly recorded. These are not
      legal proceedings and formal rules of court procedure or evidence do not apply, but the
      committee shall exercise reasonable efforts to protect the rights of the parties in the
      receipt of evidence. For purposes of illustration, the proceedings shall be recorded
      digitally rather than via court reporter, and witnesses will not be sworn or subpoenaed.
      The ultimate objective of the hearing is consideration of the matter in a fair and
      efficientmanner.

 6.   Consideration by Hearing Committee

      The committee shall formulate its recommendation in private, on the basis of the
      hearing. Before doing so, it shall give opportunity to the individual and the chief
      executive officer of the campus or his or her designated representative to make oral
      statements before it. If written arguments are desired, the committee may request them.
      The committee shall make its recommendation promptly, including explicit findings
      with respect to each of the grounds for removal presented.

      The chief executive officer of the campus and the individual shall be notified of the
      recommendation in writing and a copy of the record of the hearing shall be available
      to both parties.

      A copy of the record of the hearing and the recommendations of the hearing
      committee shall be furnished to the President of the University for his or her decision.
      The decision of the President shall be transmitted to the chief executive officer of the
      campus and to the individual involved.

 7.   Consideration by Board ofTrustees

      If the decision of the President is appealed to the Board of Trustees, or if the Board of
      Trustees chooses to review the case, the President shall transmit to the Board of
      Trustees the full report of the hearing committee, stating its recommendation and his
      or her own decision. The review shall be based on the record of the previous hearing,
      accompanied by opportunity for argument, oral or written or both, by the principals at
      the hearing or by their representatives. The decision of the Board of Trustees on
      review shall be final. It shall be communicated to the President and through him or
      her to the person involved.

      If the decision of the Board is that the faculty member is to be terminated, and the
      termination is based on unsatisfactory performance, the termination becomes effective
      at the conclusion of the twelve-month period from the date of the initial notice of
      termination. If that period has elapsed, or if the termination is based on other grounds
      of cause, the termination becomes effectively immediately following the Board's
      decision.




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V.   Annual Review

     An annual review of the work and status of each faculty member shall be made on the basis of
     assigned duties and according to criteria and procedures required herein. Each year the chief academic
     officer of each campus shall (a) require of each chairperson an assessment of the performance of all
     faculty members in the academic unit, including an identification of all faculty development needs and
     of all problems in performance of faculty, and (b) in consultation with the Chancellor (or chief
     executive officer), take steps designed to insure compliance on that campus with all criteria and
     procedures for annual reviews.

     A.     Tenured and Tenure-Track Faculty

            Provided a faculty member is in substantial compliance with applicable University policies and
            legal requirements, the annual review of each faculty member shall provide the primary basis
            for the chairperson's recommendations relating to salary, promotion, granting of tenure,
            successive appointment, non-reappointment, and dismissal. Furthermore, this review is to
            provide guidance and assistance to all faculty in their professional development and academic
            responsibilities in the areas of teaching, scholarly and creative activity, and service.

            Criteria and procedures for an annual review of all tenured and tenure-track faculty shall be
            adopted by each campus. As a general practice, the faculty, through its governance structure,
            will initiate the process of preparing such criteria and procedures, on its own or at the request
            of the Chancellor (or chief executive officer) of the campus. The deans and chief academic
            officer of the.campus will then have an opportunity to give their advice regarding these criteria
            and procedures. Thereafter, the criteria and procedures must be submitted to the Chancellor ( or
            chief executive officer) of the campus and the President for approval. More detailed criteria
            and procedures may be recommended by the faculty and chairperson of each academic unit;
            these criteria and procedures must be submitted to the dean, the chief academic officer of the
            campus, the Chancellor (or chief executive officer) of the campus, and the President for
            approval. All procedures for annual reviews adopted by a campus shall include provision for
            and details for implementation of the following :

             1.      Within a reasonable time after the beginning of the first appointment of each faculty
                     member: written notification to the faculty member of the criteria, procedures, and
                     instruments currently in use in assessing performance;

            2.       Within a reasonable time after the beginning of each academic year: written
                     notification to each faculty member of that year's assignments, review schedule, and
                     the criteria, procedures, and instruments to be used thatyear;

            3.       Reasonable opportunity for each faculty member to submit any relevant material
                     documenting his or her professional performance to be considered in the annual review;

            4.       Peer evaluation, made fully available to the faculty member and those conducting the




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                      review;

               5.     Student evaluation of teaching, made fully available to the faculty member and those
                      conducting the review;

               6.     Prior to the chairperson's completion of the annual evaluation (including any
                      recommendations based on the evaluation) in any year: (a) a meeting between the
                      chairperson and faculty member to discuss all issues relating to the review, 14 (b)
                      providing to that faculty member a copy of the chairperson's intended evaluation and
                      recommendation(s), and (c) a reasonable opportunity for the faculty member to submit
                      a written response to the annual evaluation (including any recommendations), which
                      will to be forwarded to each subsequent level of review;

               7.     As long as a faculty member is employed by the University and for at least three years
                      thereafter: maintenance of annual review forms, recommendations, associated
                      narratives, and all other relevant materials used in or resulting from the annual reviews
                      of that faculty member;

               8.     Availability to each faculty member of all writings used in or resulting from the annual
                      reviews of that faculty member.

               9.     In order to maintain a high quality and productive educational environment, annual
                      review procedures adopted at the campus level must provide for prompt, meaningful
                      and effective means of addressing unsatisfactory faculty performance. Effective July
                      1, 2019, campus procedures shall require that any tenured faculty member who receives
                      an overall unsatisfactory performance rating 15 be placed on a remediation plan. The
                      remediation plan shall be developed by the faculty member's academic unit in
                      consultation with the faculty member and shall include remedial measures designed to
                      address the overall performance deficiencies, with the expectation that carrying out the
                      plan will lead to an overall satisfactory performance rating. If, in the next annual
                      review following an overall unsatisfactory performance rating, the faculty member
                      fails either to attain an overall satisfactory performance rating or to demonstrate
                      meaningful progress in remediating the overall performance deficiencies, the faculty
                      member may be issued a notice of dismissal on twelve months' notice as provided for
                      in this policy, and subject to the procedures contained in SectionIV.C.




14      In the case of a tenured faculty member who has a satisfactory performance evaluation, a faculty
member can waive the meeting requirement.
15      As part of its criteria and procedures for annual review, each campus is responsible for establishing
the criteria by which an "overall" performance rating is determined .




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      B.    Non-Tenure-Track Faculty

             Faculty who are not in tenure-track positions shall be evaluated by procedures adopted by each
             campus. Such procedures shall provide guidance and assistance to faculty in their professional
             development and academic responsibilities. To the extent applicable and as fully as practicable,
             the criteria referenced in V. A. (especially with regard to peer and student evaluations) should
             be utilized in developing such campus procedures. Any campus procedure developed must be
             submitted to the Chancellor (or chief executive officer) of the campus and to the President for
             approval.

March 29, 2018 (Revised)
October 2, 2001 (Revised)
September 18, 1998 (Revised)
August 11 , 1998 (Corrected)
June 6, 1997 (Revised)
April 25, 1997 (Revised)
September 16, I 994 (Revised)
June 16, 1989 (Revised)
January 23, 1987 (Revised)
September 17, 1982 (Revised)
June 18, 1982 (Revised)
February 8, 1980 (Revised)
April 20, 1962, and Revisions




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         In most cases, academic units are organized into colleges and departments with deans,
chaimersons, and faculty. The normal order is for appointment. promotion and tenure processes to utilize
this stmcture in making recommendations. Where colleges or departments are not present, the normal order
shall follow a pattern that closely mirrors the typical stmcture. For example, in schools without departme11L~.
the recommendations shall start with the faculty and move to the director, if applicable, and then to the dean .
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       policies, a facultv member mav be disciplined or dismissed for cause on grounds including, but not                   /
       limited to, (I) unsati. factory performance, consistent with the requ irements of section V .A .9 below,           /
       concerning annual reviews· 2 (2) professional dishonestv or plagiarism: (3) discrimination, including
       harassment or retaliation, prohibited by law or university policy; {4) unethical conduct related to
       titness to engage in teaching, research, service/outreach and/or administration, or otherwise related
       to the faculty member's em ployment or public emplovment: (5) mi use of appointment or authority
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         Each campus shall include criteria and procedures for determining " Unsatisfactory
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faculty member to be dismi. sed for unsatisfactory perfonnance, the requirements set out in
Y .A .9 as well as any corresponding campus policy must first be followed .
         This need not be n separate component in the evaluation criteria of faculty, but may be considered in
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procedures for Annual re~icws shall be developed and adopted by each campus.                                                                                  /


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 offered a next -,successive ~annointment for emplovment at the end of a stated annointmen                                     li'.i, 1, - - - - - - - - - - -- - - -~ ---~ ~
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 period.- It is effected bv a written notice sent in compliance with the time limits hereafter specifie lhr,M;i'-,.F_o_rm                            _ e_d_ _ _ _ _ _ _ _ _ _ _ _..,
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 IIV.B.). This orovision and the time limil~ soecified in IV. B. do not annlv to the non-renewal of                          a              ~,'. '>F-o_r_m
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 alloointment of a non-tenure-track facultv memher                                                                         1, i Formatted                                         .-:-=
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 appointments for full-time services. in a tenure-track vosition on one campus of the University or


 Promotion - Promotion is advancement based on merit to a higher rank or title.- All promotions mus .t.l.l'i
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 be -ap~roved. by the Board of Trustees and beco_me effective . with ~ e next .vear's annointmen llll'J\l~j:r Fo_rm                              _ a_tt_e _ _ _ _ _ _ __ _ _ _~ ,;,;  ·--~r4..8~1
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Resi!!nation - Resignation is voluntarv termination of emolovment bv an emplovee.- The dean o •                                                                                                           ...
director of the unit to which the emplovee is .assigned is authorized bv tl1e Board of Trustees to .acceo                                                   Formatted                                  t.::Tsn
the resignation.-                                                                                         11m,                                              Formatted                                  LJS21
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       suspension
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                                              does not alter the nature of an individual ' s appointment.
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       Su pension may be with or ,~ithout pay as warranted by the circumstances. ff a faculty member is                                              Space After. opt
       suspended as a disciplinary measure. the faculty member mav grieve or appeal the suspension in                                                Formatted                                          ... 81
       accordance with the olicies of the cam us division or unit.

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       Tenure-Trac and Non-Tenure-Track ositions - Tenure-track ositions are ranks of assistant • ,_ -                                               Formatted: Font color. Auto, Condensed by 0.2 pt
       professor: -associate professor, professor, Universit                    rofessor and distill uished rofessOr,---ftf\6 '                      Formatted: Body Text Indent: Left: 0.5'', Right: 0.02",
       University f)refes50r Facul a ointed to clinical attendin ositions at the Universi of Arkansas                                                Space After. O pt
       for Medical Sciences, er oll:e-r ll0Atem1refacultv positions designated as clinical positions5 at other
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       cam uses or other non-tenur -track ositions a roved b the President ma bear the desi nation
       of assistant professor, associate professor-&F..._,:.:.r.::.
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         rofessor~ but in no event shall be considered · tenure-track ositions and shall ac u ire no tenure
       rights by virtue of occupying such positions. Such non-tenure- track ositions shall be set forth in
       applicable promotion and tenure policies approved by the President-wll-ieft following review by the
          tlice of General Counsel · such olicies ma authorize term a ointments be ond one ear, but
       not to exceed fi, ·e years. under merit- based campu procedures approved bv the President. Salaries
       for non-tenured facultv may be adju, reel for disciplinarv reasons. or based on material changes in job


        Subject to all Universitv policies. any salarv reduction for tenured facultv must be preceded bl'
notice and an opportunitv to appeal the proposed reduction to the cl1iefacademic oflicer of the campus
division or unit.
~       When a faculty member who hold a te1rnre-track position teaches in a clinical setting, the faculty
member is tllH holding a "clinical position" tbr pu!J)oses of this provision.
6       Solely at those institutions that do not offer tenure, the rank of Universitv or distinguished professor
may be a,rnrded to non-tenured faculty who otherwise meet the gualilications for the rank as set out in
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        spring semesters of the same fiscal year), unless otherwise designated.-~- - -- - - - - ----+--.
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               i!QP_l'':?_V~.ore detailed criteria      d rocedures                              the                 Formatted                      ... 93
               ch · erson~ of each academic unit· these criteria and rocedures                                   ~tj ~ - - - - - - - - - -- ----------~-
               dean the chief cademic officer of the cam us the Chancellor or chief executive officer of ';/
               the ,campus, and .the }'resident for approval. Campus and unit criteria and procedures must be /f
               consistent with and are subject to this and other applicable University policies.              /

               2.          lnitial Appointment

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                appointment for a specified term of vears do not have a right to an appointment bevond the
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        B.      Administrative Appointments

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                chief academic officer of che campus. Deans serve at the erunpllS sllall lla:'>•e all oppommity to

* P:or tile iiurpose of tllis iiolioy. aBEl iA refereBee to items io'>·oh-ing iir0fessi011al lillrarians, e~cteBsiori
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9        Subject to all University policies, any salarv reduction for tenured faculty must be preceded by
notice and an opportunitv to appeal the proposed reduction to the chief academic officer of the campus,
division or unit.
10       Subject to all University policies, nothing in this provision precludes a non-tenure-track facultv
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member. with a merit ba. ed. multi-year term appointm nt. from having a rolling appointment.                                                            I


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11      "Peer"' hall be defined bv each campus as part of its policies governing promotion and tenure or
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faculty annual reviews.
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          _the PresiElent lorPresidentfor a roval. Carn us and unit criteria and rocedures must be consistent               Formatted
           with and are sub ·ect to this and other a licable Universitv olicies.

          In addition to anv criteria established bv the campus concerning research. teaching and service all
          candidates for promotion and tenure are expected to be in substantial compliance with applicable
          Universitv policks and legal requirements.

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                   daughter, or parent to a foreign country: (f) to care for a covered service member
                   with a serious injury or illnes. if the employee is the spouse, son, daughter, parent,
                   or next of kin of the service member.

                   On the rare occasion that an additional one-vear extension is requested. such
                   requests will he considered on a case-bv-case basis. However. the faculty member
                   will receive any leave to which he or she is entitled under the FMLA .

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                   appointees at the ank of associate rofessor, rofessor, Universitv
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     In Schools without departments and departm ent chairs. refer to footnote I.                               ,
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                 between dismiss      otice and final termination. Termination of a facultv member's
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                  productive and efficient operation of the instructional and work environment.

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~non- tenured. tenure-trac acul member for rea ointment shall noti                                                   in1 or er ·
writing in accordance with the following schedule and shall enclose a copy of this section                                          Formatted: Font color. Auto
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              In considering the mntter. the dean nnd chit:f academic officer mav consult with other                                                                                                                                                                                                 Formatted: Body Text Left, Indent Left: 1 ", Right
              Universitv emplovecs with relevant knowledge regarding the individual ' s performance. ]f_ e"'71_ -                                                                                                                                                                                    0.02·, Space After: Opt
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               otification of on-re                                                      intmen the matter shall e considered closed.-                                                                                                                                                             ~ - - - - - - - - - - - - --'-"""'-'-""''-'

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13      Fo r ur oses of the Cl in ton School of Public Service. the em lo ee ma · re uest a meetin with the
Vice President of Academic Affairs.
1•      Fo r pumoses of the Cl in ton School of Public Service, the statement of grounds shall go directlv to
chief executive officer of the campus, with a copv to the facultv member.
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                   req1:1ests it v,·ithin fiye workiAg ela:,·s o!cler recei(lt efprivate meeting can be
                   bypassed and the chaimerson or dean can proceed with providing .the statement~ __ - Formatted
                   o s1:1bCOl'AffiiHee effoc1:1lty mt!mbers, as eletermint!el by preeeel1:1res de·,,eloped   //1'---------------                                   ~ ~_c-=-,.,
                   by eaeh eoA1p1:1s, shall be 1Hu11ed e~· of 0 rounds for dismissal throu I the chief
                   e·1Eee1:1ti·,eacademi officer to
                   ta efleet m1 eel:j11strnent, if130ssible . lfAe set!leme11t is effeeted, the
                   subeernmiltee shall dett!rmi11e whetlier, in its ,·iew, ferrnal flFeeeediHgs shall
                   be instilll!ed te eensider the iHdi,·id110l's dismissal, 011tl it shall Aetify the
                   il:divicrual eeAeemeel, .the ,chief.executive officer ef tlle eampl:ls. oad ether
                   Oflj:)Feflriote adrniAistroters of its eeAel1:1sien . If the s1:1eeemmittee
                   reeo.AHReads that suck 13reeeediags be eegun, er item campus, with a copy to
                    he facul · member. If the chief executive officer of the cam us after
                   considerin ath recommendation of the s1:1beemmi!!et! faveroele te the                   /
                   iAEli•,1id1:1olchaimerson or dean. decides that.a proceeding should.be .undertaken, /
                   action h be commence accord in to the rocedures whic ollow.-

              b.   If requested by either partv. or if directed by the chief executive officer of the
                   campus. prior to ti.irther steps in the process, the parties shall engage in infomial
                   discussions to determine whether an acceptable resolution of the matter is
                   possible, Such discussions may include assistance of one or more faculty
                   selected for this purpose,

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                  Susoension Pend in!! Dismissal Proceedings.                                                                                                                                                                 .._ -,-             Formatted: Font color: Auto, Condensed by 0.15 pt

                  ~ us~nsion of the jndividual from normal duties or reassignment to other duties durin •~ ' Formatted: Body Text Ind ent: Left: 0.5'', FirS t line: 0.5'',
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                  the proceedmgs will occur onlv 1f aR emergeiis\· e~C1stsc1rcumstances exist whic ~
                   ~threaten }Jann or substantial disruotion to the individual to others or to th               ', Formatted                                      ~
                  University. ~ ....:.. ' : 0 ::~ -···-         Such detennination shall be )llade bv th i            Formatted: Font color. Auto, Condensed by 0.2 pt
                   chief executive officer jn consultation with the .President. ..,Such ;;uspension ,shall b1   _:l'j Formatted                                   ~
                  .with pay. This provision does nol preclude disciplinarv suspension without pay,             / 1>----------------i..;;.;;,;,,;;;',!,(
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                  The f ~c~l!Y_of each campus shall establish a ,systematically rotated panel of facu lt .. ;
                   from which }learing committees can be drawn. To }lear a particular case a committe(
                  .selected .from the panel jn accordance with campus policies shall be composed, o ·
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                  statement of grounds for dismissal, accompanied by the individual's answer thereto -~, >--------------......·•·..11...4-81,<                               1
                  the chairperson of the hearing committee shall conduct hearings and recommend        \."I-Fo _ a_tt_e_d:_F_o_nt_c_0_I0_r._A_u_t0_ _ _ _ _ _ _ _-<
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                  course of action as provided in Section IV .C.5.-;. __________________________ >-F_o_rm       _ att
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                  J l!e_ committee shall proceed bv considering, before .the time pf the }learing, th , "'-.                                                                                                                                      Formatted
                  statement of mounds for dismissal already formulated and the individual's writte \                                                                                                                                              Formatted
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                  r,e_s~p,o_ns_e_.-..____________________________-;-..                                      '                                                                                                                                     Formatted: Font color. Auto

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                  l_n_<!_dp~iQI_! to the members of the committee onlv the nerson requesting the hearin1
                   and his or her representative the chief executive officer of the campus tttttil-Or his or he ~                                                                                                                                 Formatted                                         ~
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                   attend the hearing.-                                                                                                                                                                                             /
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                  ;;upplemented at the hearing bv evidence of new events occurring after the initia ~~                 -:                                                                                                                                                                             ··· 155
                   communication to the individual which constitute new or additional cause fo                        \                                                                                                                           Formatted: Font color. Auto, Co nd ensed by     o.2 pt
                   dismissal. If such supplementary ehafgesorounds. are adduced the committee shal                        '                                                                                                                       Formatted                                         r:::Tis6I
                   provide the individual with sufficient ti.me to prepare his or her defense.-                     .::::S                                                                                                                        Formatted                                         LJlS7l
                  Jhe ~chief executive officer of the campus shall have the ootion to attend or not t • _ , '                                                                                                                                     Formatted: Font color. Auto
                  attend the }learing, and he or she mav          ·~          ·        ·      ·    elect ~;fJ                                                                                                                                     Formatted                                         LJ159l
                  designee to assist in develooing and presenting the case. The chief executive officer o .// l ·
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                  desi1mee mav be assisted hv the reoresentative in develoning and oresentinl! the cas
                  and in other matters related J.o the hearin11..                                         / ,                                                                                                                                     Formatted: Font colo r. Auto
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                       of witnesses. The committee mav decline to accept unnecessarilv duplicative
                       material or undulv lengthv or repetitive testimony .
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                       illustration, the proceedings shall be recorded digitallv rather than via court reporter.
                       and witnesses will not be sworn or subpoenaed. The ultimate objective of the hearing is                                                                                           Formatted                                                            ... 162
                       consideration of the matter in a fair and efficientmanner.

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                       recommendation in writing and a copy of the record of the hearing shall "be available                                                                                 _.·;        Formatted: Body Text Indent Left: 2·, Right: o.02",
                       to both parties.-                                                                                                                                                    /'           Space After. o pt
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                        The decision of the resident shall be transmitted to the chief executive officer of the                                                                                                                                          ~ - - - - - - - - - - - - - - '~ ~~
                         campus and to the · dividual involved.·                                                                                                                                                                                          Formatted
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                              tennination i based n unsatisfactorv erfonnance. the tem1inatio11 becomes effecti\·
                              at the conclu ion of the twelve-month eriod fi-om the date of the initial notice o
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                              of cause the tem1i11ation becomes effoctivel immediate! following the .Board'
                              decision.

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             Chancellor or chi1:f executive officer . take ste
             all criteria and Jmcedures for annual reviews.

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11   In the case of a tenured facultv member who has a satisfactorv perfom1ance evaluation, a facultv
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member can waive the meeting requirement.                                                                                                                                                                                  /
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                           member ma be issued a notice of dismissal on twelve months ' notice as rovided fo
                           in this policv, and subject to the procedures contained in SectionJY.C.




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      B      Non-Tenure-Track Facultv

             Faculty who are not in tenure-track positions shall be evaluated bv procedures adopted bv each
             campus. Such procedures shall provide guidance and assistance to faculty in their professional
             de.velopment and academic responsibilities. To the extent applicable and as fullv as practicable.
             the criteria referenced in V. A. (especiall y with regard to peer and student evaluations) should
             be utilized in developing such campus procedures. Any campus procedure developed must be
             submitted to the Chancellor (or chief executive officer\ of the campus and to the President for
             approval.

March 29. 20 I & {Revised)
October 2. 200 I (Revised)
September 18. 1998 /Revised)
August 11. I998 (Corrected)
June 6. 1997 [Revised)
April 25. 1997 (Revised)
September 16. I994 (Revised)
June l 6. I989 (Revised)
Januar-· 23 . I987 (Revised)
September 17, 1982 (Revised)
June 18. 1982 (Revised\
February 8. 1980 (Revised)
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